Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 1 of 120


                                                                           Page 1
                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                           CASE NO. 09-60174-CIV-HUCK/O'SULLIVAN

            LAWRENCE M. SCLAFANI,

                       Plaintiff,

            vs                                                  October 27, 2009

            I.C. SYSTEM, INC.,

                      Defendant.
            ______________________________/


                              TRANSCRIPT OF TRIAL PROCEEDINGS
                           BEFORE THE HONORABLE JOHN O'SULLIVAN
                              UNITED STATES MAGISTRATE JUDGE

            APPEARANCES:

            DONALD YARBROUGH, ESQUIRE
            P.O. Box 11842
            Fort Lauderdale, Florida 33339
            Appearing on behalf of the Plaintiff.

            DALE GOLDEN, ESQUIRE
            Golden & Scaz, PLLC
            2124 West Kennedy Boulevard, Suite A
            Tampa, Florida 33606
            Appearing on behalf of the Defendant.


            REPORTED BY:          Susan Suddarth, Court Reporter
                                  Official Reporting Service, LLC
                                  524 South Andrews Avenue, Suite 302N
                                  Fort Lauderdale, Florida 33301
                                  Telephone: 954-467-8204




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 2 of 120


                                                                            Page 2
      1                                        INDEX

      2                                                                    PAGE

      3     WITNESS: LAWRENCE SCLAFANI
               Direct by Mr. Yarbrough                                25
      4        Cross by Mr. Golden                                    36
               Redirect by Mr. Yarbrough                              49
      5
            WITNESS: SUSAN JOHNSON
      6        Direct by Mr. Yarbrough                                54
               Cross by Mr. Golden                                    89
      7        Redirect by Mr. Yarbrough                              95

      8                          EXHIBITS RECEIVED IN EVIDENCE

      9     Plaintiff's Exhibit No. 1                                      13

     10     Defendant's Exhibit No. 1                         13

     11     Defendant's Exhibit No. 2                         101

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25


                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 3 of 120


                                                                            Page 3
      1     THEREUPON the following proceedings were had:

      2                      ---------------------------------

      3                THE COURT:    Good morning.   We are here in the case of

      4     Lawrence Sclafani versus I.C. System, Inc., Case Number

      5     09-60174-Civil, a consent case before me.      We are here for a

      6     bench trial.   May I have appearances for the plaintiff first.

      7                MR. YARBROUGH:   Don Yarbrough for the plaintiff.

      8                MR. GOLDEN:   Dale Golden for the defendant.

      9                THE COURT:    Mr. Golden, you didn't file, I asked you to

     10     file a memorandum, or I ordered you to file a memorandum of law,

     11     which you didn't do.     Do you have a reason for that?

     12                MR. GOLDEN:   Confusion.   I'm sorry, your Honor, I was

     13     in trial last week.     I had my associate working on this.    My

     14     understanding from what he told me, your Honor, is that was what

     15     was due after trial and not before trial.      I know that there was

     16     an issue with regard to the pretrial stipulation.      I have no

     17     excuse, your Honor, other than --

     18                THE COURT:    -- well, I have the pretrial stipulation,

     19     but the order said, the parties shall submit a memorandum on

     20     legal issues and pretrial stipulation by Tuesday, October 20th.

     21     Then proposed findings of fact and conclusions of law to be

     22     submitted by October 28th (phonetic) or shortly after the trial.

     23                MR. GOLDEN:   I guess that's where my associate's

     24     confusion came in.    I'm not putting responsibility on him,

     25     because I'm the attorney, your Honor.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 4 of 120


                                                                             Page 4
      1                 THE COURT:    Okay.   I mean you are in a lawsuit.   I get

      2     to read what his trial memo and and didn't get to read one from

      3     you so.   Puts you at a little bit of a disadvantage, but I guess

      4     you can address it in the proposed findings of facts and

      5     conclusions of law.

      6                 I went through the pretrial stip, I just want to, it

      7     showed a bunch of issues, some of which I thought had been

      8     resolved.   Is there an issue as to whether or not these messages

      9     were left, I'm looking at page four undisposed matters requiring

     10     action by the Court.      I'm sorry and following that it says, the

     11     following facts will require proof at trial.        Were the

     12     defendant's messages were left for emergency purposes as defined

     13     in the TCPA.   Do you have some evidence that these are for

     14     emergency purposes?

     15                 MR. GOLDEN:    No, your Honor.

     16                 THE COURT:    Okay, so that is not an issue in the case

     17     anymore; is that correct?

     18                 MR. YARBROUGH:   Yes, sir.

     19                 THE COURT:    How about whether the defendant used an

     20     automatic telephone dialing system or prerecorded or artificial

     21     voice to place telephone calls to plaintiff's cell phone?

     22                 MR. GOLDEN:    That is an issue, your Honor.

     23                 THE COURT:    It is an issue.    Okay, what is the issue

     24     there?

     25                 MR. GOLDEN:    Specifically what it says, whether or not




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 5 of 120


                                                                                Page 5
      1     my client's telephone system meets the definition of an automatic

      2     telephone dialing system.

      3                THE COURT:    What does your client's system do?

      4                MR. GOLDEN:   There is no evidence in the case regarding

      5     that, your Honor.    The other Issue is obviously whether or not

      6     there were any prerecorded voice left.        So it is two separate

      7     issues.

      8                THE COURT:    Okay.    How does your company, how do they

      9     make these phone calls?

     10                MR. GOLDEN:   That is what we are here today to

     11     determine, your Honor.

     12                THE COURT:    Okay, nobody has determined that through

     13     discovery?

     14                MR. YARBROUGH:   Yes, we determined that they used an

     15     auto dialer.   Their notes reflect that.       However, Mr. Golden just

     16     informed me thirty seconds ago, a minute or two ago, that his

     17     client is suddenly unavailable.        His corporate representative

     18     won't be here to testify in this case.        So that puts us at a

     19     significant disadvantage.        We were expecting the defendant to

     20     actually show up.    We were told that would be the      witness.    That

     21     the witness would be here.        Now, we are told that the witness

     22     isn't here.

     23                I believe that what Mr. Golden is planning to do is

     24     this.   His witness is here, I think, in Miami, in fact very close

     25     to the courthouse.   And after we present our case, he is going to




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 6 of 120


                                                                             Page 6
      1     move for directed verdict that we haven't shown for example that

      2     an auto dialer was used, because we don't have their witness to

      3     get that evidence in.

      4                 Then his witness is going to suddenly appear to testify

      5     in his case.    I don't think this case should, I mean I that is a

      6     significant disadvantage for a defendant to not even show up.

      7     There is nobody here from the defendant's office.

      8                 THE COURT:    I thought you said you have depositions

      9     that be admitted into evidence.

     10                 MR. YARBROUGH:   We have the account history notes

     11     showing that a dialer was used.      It has a notation dialer,

     12     etcetera.    We do not have the deposition testimony of Ms. Johnson

     13     or a corporate defendant.

     14                 THE COURT:    Why is that, you didn't depose them?

     15                 MR. YARBROUGH:   Correct.

     16                 THE COURT:    How come the defendant is not here?

     17                 MR. GOLDEN:   Judge, there is no requirement that my

     18     client appear for this bench trial.      The fact that he chose not

     19     to depose my client --

     20                 THE COURT:    -- I think there is a general requirement

     21     that the parties be present at a trial.

     22                 MR. GOLDEN:   There is not, your Honor.   There is plenty

     23     of case law that says, the plaintiff doesn't have to be here, the

     24     defendant doesn't have to be here.

     25                 THE COURT:    Show me the case law that says that.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 7 of 120


                                                                           Page 7
      1                MR. GOLDEN:   I don't have the case law with me, your

      2     Honor.

      3                THE COURT:    I've tried a lot of cases and I've never

      4     tried a case that the plaintiff and the defendant weren't there.

      5     I would always expect the plaintiff and defendant to be there.

      6     The plaintiff listed your client as a witness on the pretrial

      7     stip.

      8                MR. YARBROUGH:   And so did they.

      9                THE COURT:    So did you and the client is not here.

     10                MR. GOLDEN:   Judge, it is pretty fundamental there is

     11     no requirement --

     12                THE COURT:    -- look I'm telling you, it is not

     13     fundamental.   If it was fundamental, I think I would know it, all

     14     right.    I've tried many many cases as a lawyer and I've tried

     15     many cases as a Judge and never has there not been a party

     16     present.

     17                So it sounds to me like what you are trying to do is

     18     some kind of, gain some advantage by making it look like you are

     19     going to bring your client and then you don't show up with your

     20     client.

     21                MR. GOLDEN:   Judge, I listed a specific individual on

     22     my witness list, as did Mr. Yarbrough.     There is no requirement

     23     that because I list someone on my witness list, that I call that

     24     person at trial.    I don't know whether or not I'm going to call

     25     any witnesses at this trial today.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 8 of 120


                                                                            Page 8
      1                MR. YARBROUGH:   Your Honor, plaintiff would request a

      2     continuance of trial until we have an opportunity to subpoena Ms.

      3     Johnson and bring her to this room to testify.

      4                THE COURT:    I don't think you need to subpoena her to

      5     come here, do you?   I'm talking, right.

      6                MR. YARBROUGH:   Yes, sir.

      7                THE COURT:    Does your corporate rep need to be

      8     subpoenaed to be required to be here?

      9                MR. GOLDEN:   She needs to be subpoenaed if the

     10     plaintiff wants to call someone to the stand, they need to

     11     subpoena her absolutely and they didn't do that in this case.

     12                THE COURT:    And they can't require you to produce that

     13     witness?

     14                MR. GOLDEN:   They can't require me to produce someone

     15     who is not under subpoena.

     16                THE COURT:    Well, I mean you do at depositions, don't

     17     you?

     18                MR. GOLDEN:   That's a different issue.   That's a

     19     deposition pursuant to 30(b)(6) which is a corporate

     20     representative deposition that compels us under that rule to

     21     produce someone for deposition.     It's a totally different issue.

     22                THE COURT:    Well, any party, not just the 30(b)(6) but

     23     any party has to be produced at deposition?

     24                MR. GOLDEN:   And I agree and Sue Johnson is not a party

     25     to this case.   This is a different issue, okay.     This is not a




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 9 of 120


                                                                             Page 9
      1     deposition of my client.     This is them listing someone on a

      2     witness list for trial and not subpoenaing that witness for

      3     trial.

      4                Again, all the time in these cases, if they expect to

      5     call my client, any person of my client, as a witness in the

      6     case, they subpoena that person.

      7                THE COURT:    Did they talk to you about having the

      8     witness here?

      9                MR. GOLDEN:   No, there was no conversations.    There was

     10     people listed on the witness list, but there was never a

     11     conversation where we said, Sue Johnson will be here for trial.

     12     We never said that.

     13                MR. YARBROUGH:   Your Honor, I accepted his written

     14     representations in the pretrial stipulation that would be his

     15     witness, and that she would be here.

     16                MR. GOLDEN:   It does not say that we are going to have

     17     her here at trial.    Judge, I don't know that I need to have her

     18     testify here at trial.

     19                THE COURT:    Okay.

     20                MR. YARBROUGH:   We need her to testify, your Honor, and

     21     we were relying upon her appearance based upon the stipulation,

     22     and based upon the idea that it would be extremely odd for a

     23     litigant to not show up at a trial.

     24                MR. GOLDEN:   I just tried a case in May where I didn't

     25     have a client.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 10 of 120


                                                                           Page 10
       1               THE COURT:    Did you talk to the other party about that

       2    beforehand?

       3               MR. GOLDEN:   Did I talk to the other party about that

       4    beforehand?

       5               THE COURT:    Yes?

       6               MR. GOLDEN:   No, I did the same thing I did in this

       7    case.   There was no specific discussion regarding that issue.

       8    There is a list of witnesses, but a list of witnesses is not I

       9    will call each and every one of these people.

     10                MR. YARBROUGH:   Your Honor, it's a trick.    I don't have

     11     as much experience as this Court has, but I have never heard of a

     12     case where a defendant didn't appear unless they were defaulting.

     13     I request the Court allow a continuance for us to subpoena

     14     Ms. Johnson and have her here for the trial.

     15                THE COURT:    What does the defendant say about that?

     16                MR. GOLDEN:   Your Honor, we are here to try this case.

     17     There is no requirement that my client have a physical person

     18     here. I'm here representing my client in this case.      Mr.Yarbrough

     19     chose not to take my client's deposition, chose not to subpoena

     20     any witnesses for trial and now he wants a continuance because he

     21     realizes that he needs my client to prove his case in chief.

     22                Well, if he needed my client to prove his case in

     23     chief, he should have taken a deposition in this case, or he

     24     should have subpoenaed someone for trial, and he chose to do

     25     neither.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 11 of 120


                                                                           Page 11
       1               MR. YARBROUGH:   Your Honor, I chose not to subpoena

       2    this witness, because I believed this witness would be appearing.

       3    She is the only witness listed by defendant.      She is the only

       4    witness advanced in this case.     I was lulled into the belief that

       5    Ms. Johnson would be appearing.     She is the Director of

       6    Litigation for this firm and she is --

       7               THE COURT:   -- for the firm?

       8               MR. YARBROUGH:   For I.C.System for the defendant, she

       9    is a Director, I believe it is called Director of Litigation.       I

     10     have deposed her in other cases before.     I had no reason at all

     11     to doubt the representations on the pretrial stip that the

     12     defendant would have Ms. Johnson here.

     13                And it's very odd for a case to be proceeding without a

     14     party, without a party present in the room, and we are

     15     prejudiced.   We are severely prejudiced by it and we are asking

     16     for an opportunity to continue the trial to subpoena Ms. Johnson

     17     and make certain she is here for the trial.

     18                THE COURT:   You have some witnesses here, right?

     19                MR. YARBROUGH:   I have only Mr. Sclafani.

     20                THE COURT:   Okay, Mr. Sclafani can testify, can't he?

     21                MR. YARBROUGH:   He cannot prove our case conclusively.

     22                THE COURT:   No, I'm saying, this is a bench trial.

     23     Here is what my ruling is.    You are going to put on the portion

     24     of your case that you can today and we will continue the trial

     25     until we are able to get -- who is it, Ms. Johnson?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 12 of 120


                                                                           Page 12
       1               MR. YARBROUGH:   Yes, sir.

       2               THE COURT:    What is Ms. Johnson's position with your

       3    company?

       4               MR. GOLDEN:   She works in the legal department of

       5    I.C.System.

       6               THE COURT:    Okay, I'm going to require that you produce

       7    her at a future dates.     You don't need to serve a subpoena.    I'm

       8    ordering that she be present at whatever date we continue this

       9    matter.

     10                MR. YARBROUGH:   Thank you, your Honor.

     11                THE COURT:    You can start your trial with an opening

     12     statement if you like.

     13                MR. YARBROUGH:   First preliminarily, Mr. Golden and I

     14     have jointly agreed to an exhibit and I move to enter Exhibit

     15     No. 1 Joint Exhibit No. 1 into evidence.

     16                THE COURT:    What is that?

     17                MR. YARBROUGH:   That's the defendant's response to our

     18     request for production, containing the account history notes.

     19     They are called account history notes.     There is a listing of all

     20     the telephone calls and communications that the defendant and the

     21     plaintiff had.    Then at the end there, the last two or three

     22     pages or so is a listing of telephone calls that the defendant

     23     made to Mr. Sclafani's cell phone.

     24                THE COURT:    Okay, do you have that?

     25                THE CLERK:    Judge, I put it up there on the bench for




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 13 of 120


                                                                           Page 13
       1    you and I gave Maria a copy and I have one.

       2               THE COURT:    So Plaintiff's Exhibit No. 1 is admitted

       3    into evidence.

       4               MR. YARBROUGH:   Thank you, your Honor.

       5               THE CLERK:    It's a joint exhibit, Judge.

       6               THE COURT:    It's a joint exhibit?

       7               MR. YARBROUGH:   Yes, sir.

       8               THE COURT:    So it's going to be known as Defendant's

       9    Exhibit No. 1 as well?

     10                MR. GOLDEN:   That's fine.

     11                THE COURT:    It's Plaintiff's Exhibit No. 1 and

     12     Defendant's Exhibit No. 1.

     13          (Plaintiff's Exhibit No. 1 and Defendant's Exhibit No. 1

     14                           received in evidence.)

     15                MR. YARBROUGH:   May I proceed?

     16                THE COURT:    Yes.

     17                MR. YARBROUGH:   Your Honor, I call --

     18                THE COURT:    -- I'd like an opening statement if --

     19                MR. YARBROUGH:   -- I'm sorry, may I use the podium.

     20                THE COURT:    Sure.

     21                MR. YARBROUGH:   What the evidence is going to show in

     22     this case is that plaintiff Larry Sclafani had incurred a credit

     23     card debit with Washington Mutual Bank which is later taken

     24     over -- excuse me, with I believe Providian National Bank, it was

     25     known as at the time and was later taken over as Washington




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 14 of 120


                                                                            Page 14
       1    Mutual Bank, known as Washington Mutual Bank.

       2                Because of some financial difficulties he had, he was

       3    unable to make the monthly payments and the debt was referred to

       4    the defendant I.C. Collection for debt collection.

       5                I.C. is a consumer debt collector.    They are one of

       6    America's largest consumer debt collectors.      They are in the top

       7    twenty debt collectors in America.     They have hundreds and

       8    possibly thousands of employees who daily telephone and send mail

       9    to consumers all across America attempting to collect debts.

     10                 Mr. Sclafani received a large number of telephone calls

     11     from I.C. System, both on his home phone and on his residence

     12     phone.   We are contending that the calls to his cellular phone

     13     are a violation of the Telephone Consumer Protection Act, that is

     14     the TCPA.   Under the act any business, any person is prohibited

     15     from calling a cellular number without the -- using an auto

     16     dialer or using a prerecorded message.

     17                 Our contention is that defendant used both methods to

     18     call Mr. Sclafani.    They used an auto dialer and they also used

     19     prerecorded messages to telephone him.     They did not have

     20     Mr. Sclafani's consent, nor did they call him for emergency

     21     purposes.

     22                 The FCC has been charged by Congress with issuing

     23     regulations on the TCPA and in January of '08, the FCC issued an

     24     important order.

     25                 Pardon me, your Honor, I forgot a preliminary matter.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 15 of 120


                                                                           Page 15
       1    I wanted to inform the Court that Mr. Sclafani has a hearing

       2    impediment and he has two hearing aids with him.      He is wearing

       3    one.    He has two on right now actually.    One appears to be a

       4    cellular phone ear piece, but it is not.      It's the latest design

       5    that he has just received as a hearing aid, so that when he is

       6    out in public, it is not obvious that he has a hearing aid.        It

       7    looks like a cell.    The other device you see him holding, that is

       8    not a cell phone or a game, that is a hearing aid.      He is hearing

       9    impaired.    I'm sorry, I forgot to mention that earlier.

     10                 THE COURT:   Okay.

     11                 MR. YARBROUGH:   So the FCC issued an order in January

     12     of '08 setting out the parameters for consumer debt collectors to

     13     contact consumers on their cell phones and using an auto dialer

     14     or a prerecorded voice.

     15                 One of the significant things that came out of that

     16     ruling is that Congress had said, that unless the consumer

     17     explicitly consents to calls on his cell, then the debt collector

     18     can't make them.    So that was the language Congress used,

     19     explicit consent.

     20                 But the FCC when it came through in January '08 with

     21     its order, it sort of limited that language tremendously.       What

     22     the FCC said is, wait a second, we don't care about explicit

     23     consent.    Basically they said if the consumer gives his cell

     24     phone number to the original creditor, Washington Mutual in this

     25     case, then that is consent.      We are going to hold that is consent




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 16 of 120


                                                                           Page 16
       1    that allows the debt collector to call the consumer using an auto

       2    dialer or using a prerecorded message.

       3               So we believe that the defendant is going to attempt to

       4    show that Mr. Sclafani consented to the calls that I.C. System

       5    made, because he gave his phone number to, his cell phone number

       6    to Washington Mutual.    But we are going to show you there isn't

       7    any evidence at all that he gave his cell phone number to

       8    Washington Mutual.

       9               THE COURT:   To Washington Mutual or Provident (sic)?

     10                MR. YARBROUGH:   I'm sorry, I use them interchangeably,

     11     your Honor.   I believe the name of the bank was Providian

     12     National and it was taken over by Washington Mutual and the

     13     documents that are before the Court in Exhibit No. 1 they refer

     14     to the bank as Washington Mutual.     So perhaps I should adopt that

     15     as the -- the very first page of the notes up at the top I

     16     believe, it makes reference to the debt being referred by

     17     Washington Mutual.    But they were successor in interest to

     18     Providian.

     19                THE COURT:   So you are not contesting the rules of the

     20     FCC, that if the consumer gives his cell phone number to the

     21     original debt collector that is considered a waiver of consent?

     22                MR. YARBROUGH:   No, sir, we are not contesting the law.

     23     We are simply saying that he didn't give them the number.       I

     24     think the law is contestable, but we are not going to do it

     25     today.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 17 of 120


                                                                            Page 17
       1               THE COURT:   Okay.

       2               MR. YARBROUGH:   We have the defendant's notes, they

       3    have been produced to us in Exhibit No. 1.      On one of the first

       4    pages of those notes, there is a little notation that says --

       5               THE COURT:   -- you need to step back a little from the

       6    microphone.

       7               MR. YARBROUGH:   Pardon me, your Honor.    There is a

       8    little notation on some of those notes that say the total number

       9    of calls placed to Mr. Sclafani is something like 548 I believe.

     10     Then there are pages and pages and pages of records about the

     11     calls.

     12                We have analyzed those records and we believe there are

     13     approximately forty calls to Mr. Sclafani's cell phone using a

     14     prerecorded voice, which violates the TCPA.      The use of a

     15     prerecorded voice alone violates.

     16                The TCPA prohibits the use of both a prerecorded voice

     17     and use of an auto dialer.

     18                THE COURT:   What makes you think, is it where it says

     19     auto voice or what signifies?

     20                MR. YARBROUGH:   The prerecorded voice, yes, the

     21     notation in the records that says, uses the phrase I believe it

     22     is auto voice, yes, auto voice.

     23                THE COURT:   Sometimes it says home auto voice and it

     24     says RP auto voice.

     25                MR. YARBROUGH:   Yes, sir, and sometimes it says ENP




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 18 of 120


                                                                           Page 18
       1    auto voice.   Now the ENP auto voice, that number ends in 8383.

       2    That's Mr. Sclafani's cell phone.     The number that is listed in

       3    here as a home number, which is 8555 is Mr. Sclafani's correct

       4    home phone number.    The number listed as RP and that phone number

       5    ends in 1986 is not Mr. Sclafani's number at all, but somebody

       6    else's number.

       7               But the defendant was calling three separate phone

       8    numbers for Mr. Sclafani, his home number which they are

       9    referring to as an employee number, excuse me employer number, a

     10     home number which is his home number, and an RP number which is a

     11     number that is not his number.

     12                THE COURT:   And you believe you should collect damages

     13     for the RP number as well?

     14                MR. YARBROUGH:   No, sir, we don't, because it's not his

     15     number.

     16                THE COURT:   You are asking for damages on the cell and

     17     the home number?

     18                MR. YARBROUGH:   Actually only on the cell, because the

     19     FCC has interpreted the TCPA to allow calls to a residence.       The

     20     calls to the residence are legally permitted under the current

     21     interpretation of the law by the FCC and we are not challenging

     22     that.

     23                THE COURT:   Okay.

     24                MR. YARBROUGH:   So we are not seeking damages on that,

     25     only on the cell phone, which the FCC order says is a violation




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 19 of 120


                                                                           Page 19
       1    unless there has been consent.

       2               As you through the exhibit here, you can see there has

       3    been a very large number of calls, and they are to all three

       4    numbers.   There is some calls to each of the numbers.     We are

       5    contending these calls to the cell phone violate and defendant

       6    also produced --

       7               THE COURT:   -- which ones.   I see like ENP, no answer.

       8    How do you know that's an auto call?

       9               MR. YARBROUGH:   We would need the testimony of the

     10     defendant.   Our contention is this.     That in the debt collection

     11     industry, all of these calls are placed with an auto dialer.

     12     Some of the notes I can direct the Court's attention to, some of

     13     the notes would use codes which indicate a dialer.

     14                For example next to the phone number, just to the left

     15     of the phone number that is called, you will see on some of the

     16     calls, there is a "D" which we believe means dialer.      It is

     17     common in the debt collection industry for debt collectors to use

     18     auto dialers.

     19                In fact there is some evidence that we have just

     20     recently seen from the defendant's web page, that they advertise

     21     that they use an auto dialer, and we would attempt to introduce

     22     that.

     23                THE COURT:   I don't see anywhere under the ENP, maybe

     24     they are here but I haven't had a chance to look at every one.        I

     25     saw a bunch that said home, auto voice, RP auto voice.      I don't




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 20 of 120


                                                                           Page 20
       1    see any that say ENP auto voice.      ENP dead air.

       2               MR. YARBROUGH:   Okay, there are some.     There is about

       3    forty of the calls, approximately, excuse me there is 38.       If you

       4    look through all the calls, there is 38 that show a auto voice to

       5    the cell phone.    And we believe that all of these calls, whether

       6    they left an automated message or not, that all of them were

       7    placed with an auto dialer within the statute.

       8               THE COURT:    You are obviously going to have to call

       9    someone to say that, call someone who is going to interpret

     10     these.

     11                MR. YARBROUGH:   That would be the defendant, that's why

     12     we needed her here.

     13                THE COURT:    Okay.

     14                MR. YARBROUGH:   So what we are going to do, well, I

     15     think we laid it out, your Honor.      Thank you very much.

     16                THE COURT:    Mr. Golden, do you want to make an opening

     17     now or at the beginning of your case?

     18                MR. GOLDEN:   I will make it now, sir.

     19                THE COURT:    Okay.   Where is Sue Johnson by the way, is

     20     she here in Miami?

     21                MR. GOLDEN:   I don't know if she is still in Miami or

     22     not.    I think she is, yes.

     23                THE COURT:    Maybe you can call her and get her over

     24     here then.

     25                MR. GOLDEN:   I can try if we want to take a break now




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 21 of 120


                                                                           Page 21
       1    or.

       2               THE COURT:    Give me your opening and we will take a

       3    five minute break to see if you can get her here.

       4               MR. GOLDEN:   In terms of these notes, this is why take

       5    a deposition so you don't stand before the Judge and say this is

       6    what the notes mean, because he is wrong about what the notes

       7    mean.

       8               The evidence will show, your Honor, that auto voice

       9    means there is an auto voice recording that answers the phone, if

     10     it would have been Mr. Sclafani's voicemail introduction.       It

     11     doesn't mean that it was an auto dialer.     That's not what it

     12     means.   Auto voice doesn't mean that.

     13                The other thing he said was that there are all these

     14     prerecorded voices, messages, and we know because of X,Y, Z.

     15     There were not, there were not and we know that for two reasons,

     16     which we will learn.     Number one, this client didn't allow it and

     17     number two, if there were, the one thing Mr. Yarbrough was

     18     correct about, if there were prerecorded messages that were left,

     19     there would be a specific indication in the notes.       So he is

     20     completely out of bounds on those two claims.

     21                THE COURT:    If he can't prove those two things, then he

     22     is not successful on his claim here; is that correct?

     23                MR. GOLDEN:   I think that is correct, your Honor.     The

     24     other issue the express consent issue.     The fact of the matter is

     25     that this plaintiff will testify that when he opened this




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 22 of 120


                                                                             Page 22
       1    account, he doesn't remember how he opened it.      He doesn't

       2    remember when he opened it.     He doesn't know if he mailed, he

       3    went to an office, or if he did it on the Internet.      He doesn't

       4    remember what phone number it was that he gave to Washington

       5    Mutual.

       6               He will testify that he owns his own business, a

       7    painting contractor business, and he uses his cell phone as his

       8    business number.    That he doesn't hardly ever give out his home

       9    phone number for any reason.     That he has business cards and on

     10     the business cards that he had, and I think he testified at

     11     deposition he doesn't still have any, that it's his cell phone

     12     number that is on his business cards.

     13                So it's clear that the cell phone number is

     14     Mr. Sclafani's phone number.     That's the one he uses.   That's the

     15     one he gives out to people that he is going to do business with.

     16                THE COURT:    Well, he has a home number, doesn't he?

     17                MR. GOLDEN:   He does, but his testimony was that he

     18     doesn't use that.    His specific testimony on that issue was, I

     19     don't use that number much.     I mainly use my cell phone number.

     20                The other testimony on that issue will be that my

     21     clients got this number from Washington Mutual.      That's the only

     22     way they got it.    Now there are certain other ways that debt

     23     collectors can get numbers.     There is the skip traces that you

     24     can run, people try to track down numbers.      Again, if my client

     25     had skip traced this number and found the number through a skip




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 23 of 120


                                                                             Page 23
       1    trace, as opposed to getting it from his client, there would be

       2    an indication in these notes saying that a skip trace was run and

       3    that number was recovered.

       4               If this number was gotten from let's say we called

       5    Mr. Sclafani's sister and she gave us this number, there would be

       6    an indication in the notes that we got it from his sister and

       7    then it was input into the notes.     The first page of this exhibit

       8    contains all the information at the top here that we received

       9    regarding this account, including the phone numbers.       All of that

     10     information was received from Washington Mutual.

     11                The only conclusion and Mr. Sclafani will testify that

     12     he never heard from Washington Mutual after he opened this

     13     account, after it went into default.       The only reasonable

     14     conclusion, the only logical conclusion to draw, and it only

     15     makes sense, he gave that number to Washington Mutual along with

     16     the home phone number as part of the application process.

     17                As Mr. Yarbrough pointed out, the FCC has held

     18     unequivocally that if you provide that number to the creditor,

     19     that counts as prior express consent.

     20                THE COURT:    You agree that you have the burden of proof

     21     in that, as an affirmative defense?

     22                MR. GOLDEN:   Well, it's odd.    I don't mean to

     23     equivocate.   The FCC opinion says that the burden is on the

     24     creditor to prove prior express consent.       There is an opinion

     25     from Judge Dimitrouleas up in Fort Lauderdale that says




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 24 of 120


                                                                            Page 24
       1    essentially the same thing.       There are other opinions from

       2    Circuit Courts that say the burden is on the plaintiff to prove

       3    lack of prior express consent.

       4                So I don't want to concede that point, but I will tell

       5    you what I did tell you.      I'm not going to concede that point.

       6    We are going to argue it is his burden, not our burden.       But I

       7    recognize, your Honor, that whatever conclusion you draw is

       8    supportable based upon case law out there and the FCC opinion.

       9    That's all I have.

     10                 THE COURT:    Okay.   Why don't we take five minutes and

     11     see if you can get Ms. Johnson here.       Do you have a phone with

     12     you?

     13                 MR. GOLDEN:    I do, your Honor.

     14                 THE COURT:    Then we will start with the plaintiff's

     15     first witness.

     16                                 (A brief recess.)

     17                 THE COURT:    All right, call your first witness.     I

     18     understand Ms. Johnson is going to be here shortly?

     19                 MR. GOLDEN:    She is.

     20                 THE COURT:    Okay, good.

     21                 MR. YARBROUGH:   Your Honor, plaintiff calls Lawrence

     22     Sclafani.

     23                        -------------------------------

     24     THEREUPON,

     25                                LAWRENCE SCLAFANI,




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 25 of 120


                                                                           Page 25
       1    a witness of lawful age having been first duly sworn testified on

       2    his oath as follows:

       3                  THE CLERK:   State your name into the microphone and

       4    spell your last name.

       5                  THE WITNESS:   It's Lawrence Sclafani, S-C-L-A-F-A-N-I.

       6                                 DIRECT EXAMINATION

       7    BY MR. YARBROUGH:

       8    Q.    Larry, did you open up a credit card account with Washington

       9    Mutual?

     10     A.    I had a credit card account with Washington Mutual.      That's

     11     better.

     12     Q.    You can hear better?

     13     A.    Yeah.

     14     Q.    Let me know if you have trouble hearing me.      What do you do

     15     for a living?

     16     A.    I'm self-employed painting contractor.

     17     Q.    So you paint houses?

     18     A.    I paint houses and sometimes commercial buildings.

     19     Q.    Do you have any employees who work with you?

     20     A.    Excuse me?

     21     Q.    Do you have any employees?

     22     A.    No, just myself.

     23     Q.    What happened with the Washington Mutual credit card?      I

     24     mean did you come into a time where you had trouble paying?

     25     A.    Okay, yes.    What happened is I took out the Washington




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 26 of 120


                                                                           Page 26
       1    credit card and my wife was going to school for a nursing degree,

       2    a nursing program and work slowed down to almost nothing and it

       3    was hard for me to pay all the bills.      So it was pretty much just

       4    me.   Before then my wife was working for the school board, so it

       5    was like a second income.      But when she started full time at

       6    school for her nursing degree, everything rested on my shoulders.

       7    Q.    So is it fair to say you fell behind in the payments?

       8    A.    I fell behind in the payments with Washington Mutual, yes.

       9    Q.    Did there come a time that you started receiving calls or

     10     letters from I.C. System?

     11     A.    Was there a time that I started, yes, there was.

     12     Q.    Now, did you receive calls from I.C. System on your cell?

     13     A.    Yes, I did.

     14     Q.    What is your cell number?

     15     A.    954-305-8383.

     16     Q.    Is that the number that I.C. System called you?

     17     A.    Yes.

     18     Q.    Did you ever give that number to Washington Mutual?

     19     A.    No.

     20     Q.    Did you ever tell I.C. System to stop calling you?

     21     A.    Yes.

     22     Q.    Tell us about that.

     23                  THE COURT:   When you say Washington Mutual, wasn't the

     24     credit card --

     25                  MR. YARBROUGH:   -- I'm sorry, pardon me, your Honor, I




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 27 of 120


                                                                            Page 27
       1    misspoke.    I misspoke, excuse me.

       2    BY MR. YARBROUGH:

       3    Q.    Did you ever tell I.C. System to stop calling you?

       4    A.    Yes, I did.

       5    Q.    How did that come about?

       6                THE COURT:   Wait, wait, let's go back.   You're asking

       7    him did he ever give the number to -- you're asking him about

       8    Washington Mutual.    You told me in opening that he actually got

       9    this card from a different company called Provincial or

     10     something?

     11                 MR. YARBROUGH:   Providian was the predecessor of

     12     Washington Mutual.    I may have misspoke.   A lot of the Providian

     13     accounts, what happened is Providian I believe went under and the

     14     accounts went to Washington Mutual.     I might have misspoken.

     15                 THE COURT:   You need to clarify with him who he got the

     16     credit card from and if he gave that entity the number, because

     17     that's the issue I think.

     18                 MR. YARBROUGH:   Pardon me, your Honor, let me go back

     19     and correct that.

     20     BY MR. YARBROUGH:

     21     Q.    Larry, can you tell us who the credit card was opened with,

     22     what company?

     23     A.    I'm sorry, say that one more time.

     24     Q.    When you got the credit card, who was the company you had

     25     the credit card with, what was their name?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 28 of 120


                                                                           Page 28
       1    A.    Washington, the credit card was issued with Washington

       2    Mutual.

       3    Q.    So you never had any dealings with Providian?

       4    A.    I don't believe so, no.

       5    Q.    Okay, I misspoke, pardon me.    So the card was originally

       6    issued with Washington Mutual?

       7    A.    Yes.

       8    Q.    Can you recall now roughly when you got the credit card with

       9    Washington Mutual?

     10     A.    December of '06.   I remember I found the card and it said

     11     active December '06.

     12     Q.    So when you got the card with Washington Mutual, did you

     13     give Washington Mutual your cell phone number?

     14     A.    No.

     15     Q.    How can you be sure you didn't give it to them?

     16     A.    I'm positive I didn't give it to them, because I did not

     17     receive my cell phone until July '07, July 29th, '07.

     18     Q.    How can you say when you got the cell phone?

     19     A.    Based upon when we did the deposition, I started thinking

     20     that I didn't have that cell phone that long.      So called the day

     21     after we left the deposition, I called the cell phone company

     22     T-Mobile and I asked them when my start date was and they told

     23     me.   I thought he might have made a mistake, so I called again

     24     and a separate person told me the same thing July 29th, '07.

     25     Q.    So at the time you took out the credit card, you didn't have




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 29 of 120


                                                                           Page 29
       1    your cell number that ends in 8383?

       2    A.    No, sir.

       3    Q.    Any time after you got the Washington Mutual card, the whole

       4    time you had it, did you ever give them the cell number that ends

       5    in 8383?

       6    A.    No, sir.

       7    Q.    Did you give them your home number, did you give Washington

       8    Mutual your home phone number?

       9    A.    Yes, mostly likely, yes.

     10     Q.    What was that number?

     11     A.    954-587-8455.

     12     Q.    Now when you started getting --

     13     well, let's go to the calls that you got from I.C. System, can

     14     you tell us about how many calls you got from them?

     15     A.    From I.C.System I received at least one or two a day for

     16     months at a time.

     17     Q.    Did you receive calls every single day?

     18     A.    Almost every single day, yes.

     19     Q.    Did you ever have an occasion -- are there any of the calls

     20     that you can particularly remember?

     21     A.    There was was one particular call in which I told them not

     22     to call and --

     23     Q.    How did that come about?

     24     A.    Well, actually I was on a roof painting and it was like

     25     ninety degrees out and I was up on a roof trying to get the roof




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 30 of 120


                                                                           Page 30
       1    finished up and was looking for the rain coming in etcetera and

       2    they called.       I guess out of frustration I cussed them out and

       3    told them not to ever call me again.

       4                MR. YARBROUGH:    Your Honor, I believe Mr. Sclafani is

       5    too close to the microphone.

       6                THE CLERK:    He can move it back or sit back.

       7                MR. YARBROUGH:    If you hear like a booming sound coming

       8    through that means you got too close to the microphone.

       9    BY MR. YARBROUGH:

     10     Q.     So you were telling us that you remember one call where you

     11     were up on a roof?

     12     A.     Right.

     13     Q.     You were painting?

     14     A.     I was painting, actually I was up on the roof painting a

     15     retaining wall and I was trying to get that finished before the

     16     rain came in and they called again.      Prior to that I had told

     17     them not to call me again.      So when they called this other time,

     18     I told them never to call my cell phone again and I cussed them

     19     out.

     20     Q.     When you told them not to call you, were you up on the roof?

     21     A.     Yes, sir.

     22     Q.     Did you say you had told them before that not to call you?

     23     A.     Yes, I did.

     24     Q.     That same day?

     25     A.     No, it was prior to that.




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 31 of 120


                                                                           Page 31
       1    Q.    It wasn't the same day?

       2    A.    No.

       3    Q.    Do you recall the date of that?

       4    A.    It was probably a couple days before then.

       5    Q.    Do you remember, were there any of the other calls that you

       6    can particularly recall?

       7    A.    Yes, I remember one call on Christmas Day.

       8    Q.    Why do you remember that call?

       9    A.    Because it was Christmas Day and I was with my family they

     10     called me on my cell phone.

     11     Q.    The calls that you received on your cell phone, were those

     12     calls, could you tell if those calls were humans speaking or if

     13     they were prerecorded or were they both?

     14     A.    You could pretty much tell, a lot of them were prerecorded,

     15     robot type calls.

     16     Q.    How did you know they were robot type calls?

     17     A.    You could pretty much tell, well, they were the same first

     18     of all.

     19     Q.    They were the same?

     20     A.    Some of the calls after were the same, but the robot calls

     21     everything is concise and there is no hesitation.      When you speak

     22     to a regular person, there is a pause, they say uh, or go off the

     23     trail a little bit, but all those calls that came in were the

     24     same, the same.

     25     Q.    Can you give us, you didn't keep any records of how many




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 32 of 120


                                                                            Page 32
       1    calls you got, did you?

       2    A.    No, I didn't keep a record.      They kept calling.   After

       3    listening to the message and it was them, I got home and there

       4    would be a message at the home, etcetera, etcetera, just

       5    continuous, probably about off the top of my head about forty or

       6    fifty or so.

       7    Q.    Forty or fifty calls to your cell or to your home?

       8    A.    To my cell.

       9               THE COURT:    Let me interrupt.    You said you spoke to

     10     someone and told them not to call you, was that a robot you were

     11     talking to or was that?

     12                THE WITNESS:   No, sir that was an actual voice.

     13                THE COURT:    Okay.

     14                THE WITNESS:   If I picked up on the robot calls, then a

     15     voice would interrupt and after that I let it go to voicemail

     16     because it was the same thing.        It became redundant to tell them,

     17     not to call first of all.        Second of all, I didn't have the money

     18     to do anything.     I've read your letters and as soon as I can get

     19     something up I will send it to you, etcetera, etcetera.

     20     BY MR. YARBROUGH:

     21     Q.    Let me understand what you mean by a robot call.       Did you

     22     receive messages where you played your voicemail and you heard a

     23     tape recording of the message that I.C. System left for you?

     24     A.    Right.

     25     Q.    Did you do that?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 33 of 120


                                                                            Page 33
       1    A.     Yes.

       2    Q.     When you say it's a robot call, that's what you mean it's

       3    a --

       4    A.     -- yeah, right, I call it robot.

       5    Q.     Okay, was the call prerecorded the time we are talking

       6    about?

       7    A.     Yes, because it was the same call that I would get today as

       8    I would get the day before.        Ever so often it would change with a

       9    different name, but it would be the same.

     10     Q.     Did you receive calls where a voice came on, a prerecorded

     11     voice and told you to hold for a human?        Do you remember if you

     12     received that type of call?

     13     A.     No, it wasn't a hold, it was please call I.C.System.

     14     Q.     Okay, so it would be a prerecorded voice, it wouldn't be a

     15     human talking, but you could hear what they were saying?

     16     A.     Right.

     17     Q.     At times you would pick that up and listen to that?

     18     A.     Right.

     19     Q.     Okay, but some of the messages just went to your voicemail?

     20                   MR. GOLDEN:   Objection, your Honor, leading.

     21                   THE COURT:    Sustained.

     22     BY MR. YARBROUGH:

     23     Q.     Larry, did you receive calls from I.C.System where a human

     24     was talking?

     25     A.     Yes.




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 34 of 120


                                                                           Page 34
       1    Q.    Now as far as the calls from I.C. System that used a

       2    prerecorded voice, can you give me an estimate of how many of

       3    those calls you received?

       4    A.    About fifty, sixty, something like that.     That was over a

       5    period of time.

       6                 THE COURT:   Move a little closer to the microphone

       7    please.

       8                 THE WITNESS:   I'm sorry.

       9                 THE COURT:   Pull the mike a little closer to you.    You

     10     got a little too far away there.      Somewhere in between, you have

     11     to find the right spot.

     12                  MR. YARBROUGH:   If you get too close, we get the

     13     booming sound.    If you get too far away, then we can't hear you.

     14     BY MR. YARBROUGH:

     15     Q.    Larry, what again is your cell phone number?

     16     A.    954-305-8383.

     17     Q.    What is the phone number at your home?

     18     A.    Right now the phone number that I.C.System called?

     19     Q.    Yes?

     20     A.    That was 954-587-8455.

     21     Q.    How long have you had that home number?

     22     A.    That home number I've had for a long time.

     23     Q.    Like how long?

     24     A.    About three years, four years.

     25     Q.    It was before you got the Washington Mutual card?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 35 of 120


                                                                           Page 35
       1    A.    Right.

       2    Q.    Do you recognize the phone number 954-587-1986?

       3    A.    That number sounds almost familiar, but it's not my home

       4    number. It could have been, maybe about six or seven years ago,

       5    my daughter I think we got her a phone for her room, but that was

       6    only for a few months, because we dropped that.      I don't know

       7    whether that was the number or not.     I can't be certain, but we

       8    did have a separate line.

       9    Q.    In your home?

     10     A.    In the home, but it was only for a short period of time,

     11     months, just for a few months and that was six, seven, eight

     12     years ago.

     13     Q.    Can you recall was there more than one occasion that you

     14     asked I.C.System to stop calling you?

     15     A.    Yes.   I remember the once on the roof I cussed them out a

     16     few days prior to that.

     17     Q.    Is it two?

     18     A.    I didn't speak to them at Christmas.    In a conversation

     19     probably with one of their spokespersons, I know I told them then

     20     too, yes.

     21     Q.    Did you ever give Washington Mutual permission to call you

     22     on your cell phone?

     23     A.    No.

     24     Q.    Did you ever give them the cell phone number?

     25     A.    No.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 36 of 120


                                                                           Page 36
       1                 MR. YARBROUGH:   Your witness.

       2                 THE COURT:   Cross examination?

       3                               CROSS EXAMINATION

       4    BY MR. GOLDEN:

       5    Q.    Good morning, Mr. Sclafani.     You don't remember when you

       6    opened the account, do you?

       7    A.    12/06 that's the time said on the card.

       8    Q.    You remember having your deposition taken in this case,

       9    don't you?

     10     A.    Yes, I do.

     11     Q.    You remember being asked that same question at deposition,

     12     don't you?

     13     A.    When I opened the card?

     14     Q.    Yes?

     15     A.    Yes, at that time I didn't know.

     16     Q.    At page seven, line twenty the following question was asked.

     17     Question:     Do you remember when you opened that account.    Answer:

     18     No.

     19     A.    That might have been correct at that time.     But after I left

     20     the deposition, I went home and I searched for the card and I

     21     found the card and it said, 12/06 and then I started thinking

     22     about the cell phone thing.      Because I did go over the deposition

     23     in my head and that's what brought me to that.

     24     Q.    So after deposition the, you did an investigation to

     25     determine if your answers were accurate?




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 37 of 120


                                                                           Page 37
       1    A.    Excuse me, say that last part.

       2    Q.    After the deposition, you did an investigation to determine

       3    whether or not the answers you gave at the deposition were --

       4    A.    -- no, it wasn't a specific thing.    I was just looking for

       5    the card.

       6    Q.    Mr. Sclafani, you need to wait until I answer my question,

       7    or ask my question before you answer.      You remember at deposition

       8    you raised your right hand and swore to tell the truth, right?

       9    A.    Yes, I did.

     10     Q.    Just like you did today, right?

     11     A.    Yes, I did.

     12     Q.    At deposition you said you didn't remember when you opened

     13     this account?

     14     A.    That was correct at that time.

     15     Q.    Then after your deposition you did some sort of

     16     investigation that led you to another conclusion, correct?

     17     A.    I wouldn't call it an investigation.

     18     Q.    What would you call it?

     19     A.    Looking for the card.

     20     Q.    Could you have looked for the card before the deposition?

     21     A.    No, because I wasn't concerned was.

     22     Q.    You weren't concerned?

     23     A.    The actual date of the card, no, I wasn't.

     24     Q.    Certainly after you found out that your answer in deposition

     25     was inaccurate, you contacted the court reporter and made sure




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 38 of 120


                                                                           Page 38
       1    that whether you could correct your deposition testimony, right?

       2    A.     No, no, no.

       3    Q.     You didn't do that?

       4    A.     I didn't think of that specific question as to why I was

       5    looking for the card.       The only reason I was looking for the card

       6    was out of curiosity as to when I opened the account.

       7    Q.     Just so we are clear, there is absolutely nothing that would

       8    have prevented you from doing that before your deposition,

       9    correct?

     10     A.     I don't understand the question.

     11     Q.     You could have looked for the card before your deposition,

     12     but you chose not to; isn't that true, sir?

     13     A.     Yes.

     14     Q.     And you don't remember, sir, how you opened this account, do

     15     you?

     16     A.     Not specifically, no.

     17     Q.     You don't know if it was through the mail?

     18     A.     I could have been.    Could have been only two possibilities.

     19     It could have been through the mail or through the Internet, but

     20     most likely it was the mail.

     21     Q.     But you don't remember, do you?

     22     A.     No.

     23     Q.     You don't have a specific recollection of sitting down and

     24     filling out an application?

     25     A.     Well, yes, I remember, because I got the card.




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 39 of 120


                                                                            Page 39
       1    Q.    But do you remember sitting at the table and filling out a

       2    Providian or Washington Mutual application in December 2006?

       3    A.    No, I wouldn't think so, no.

       4    Q.    You don't remember going on the Internet and doing that, do

       5    you, sir?

       6    A.    Prior to that I tried to obtain some credit cards, so that's

       7    why I'm so confused with your question, because specifically for

       8    that particular card, I wouldn't know whether I tried to get a

       9    card on the Internet or through the mail.      So I don't know,

     10     that's where the confusion lies.     It wasn't specifically a

     11     Washington Mutual card that I was applying for.      There could have

     12     been two or three others beforehand, because I didn't have a

     13     credit card at that time.

     14     Q.    Right, all I'm saying is you don't remember, right, it was a

     15     while ago, right, you don't remember?

     16     A.    Would have been only two possibilities.

     17     Q.    You, sir, don't remember what phone number you gave as part

     18     of the application process, do you?

     19     A.    The only phone number I could have gave at that time was my

     20     home number.

     21     Q.    Sir, you don't recall -- and, your Honor, if I could get an

     22     answer to my question.     The question was:   You don't recall what

     23     phone number you gave as part of that application process?

     24                 THE COURT:   Do you recall?

     25                 THE WITNESS:   It would have to be my home phone number,




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 40 of 120


                                                                           Page 40
       1    it wouldn't have been my cell phone.

       2    BY MR. GOLDEN:

       3    Q.    Now, I asked you that same question at your deposition,

       4    didn't I?

       5    A.    Did you?

       6    Q.    Page eighteen, line fourteen:    Question:   What number did

       7    you give Washington Mutual?    Answer:   I couldn't recall.    So your

       8    testimony at deposition was, you don't remember what number you

       9    gave as part of that application process?

     10     A.    At that time, right.

     11     Q.    But now you remember after?

     12     A.    I didn't have a revelation as to I remember that as now, but

     13     maybe you jogged my memory so that I'm thinking about it, but the

     14     only possible number that I could have given was my home number.

     15     I don't typically give out a cell phone number.

     16     Q.    Because it's your testimony today, you didn't even get the

     17     cell phone number until after you had this account; isn't that

     18     true, sir?

     19     A.    Rephrase that, say that one more time.

     20     Q.    Your testimony today is that you didn't even get that cell

     21     phone number until after you opened this account.      That's what

     22     you said today, right?

     23     A.    Right, July '07.

     24     Q.    Again, that's not what you said at deposition, is it, sir?

     25     A.    What do you mean that's not what I said at deposition?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 41 of 120


                                                                           Page 41
       1    Q.     That's not what your testimony was at your deposition in

       2    June of    this year?

       3                  MR. YARBROUGH:   Objection, misstating the evidence, he

       4    didn't ask that question.

       5                  THE COURT:   You can read him the question you asked

       6    him.

       7    BY MR. GOLDEN:

       8    Q.     Mr. Sclafani, you own your own business, don't you?

       9    A.     Yes, I do.

     10     Q.     You use your cell phone number as your business number,

     11     don't you?

     12     A.     Yes.

     13     Q.     You have had business cards for your business, haven't you?

     14     A.     Yes.

     15     Q.     And you had your cell phone number on your business cards,

     16     don't you?

     17     A.     Yes.

     18     Q.     You have a home phone, don't you?

     19     A.     Yes.

     20     Q.     You don't use that home phone number much, do you?

     21     A.     Today I don't.

     22     Q.     You mainly use your cell phone, don't you, sir?

     23     A.     Today, I do, yes, back then I didn't.

     24     Q.     Back then you didn't?

     25     A.     Right.




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 42 of 120


                                                                           Page 42
       1    Q.    Because you didn't get the cell phone number until after

       2    this account was opened, right, that's your testimony today?

       3    A.    That was the testimony pertaining to that cell phone.      But

       4    typically I didn't use my cell phone for everyday usage.       I would

       5    use it for my friends and things like that, business to get jobs

       6    with, on my business I would give it to a contractor and stuff.

       7    But typically I wouldn't give it out to anybody, mainly for

       8    various reasons.

       9    Q.    In th complaint, sir, which you filed against my client,

     10     there are four different dates of messages left, are you aware of

     11     that?

     12     A.    Yes.

     13     Q.    The first one is on January 3rd, 2008, do you remember what

     14     the message was?

     15     A.    No.

     16                  MR. GOLDEN:   Let me see -- may I approach to give him a

     17     copy of this, your Honor?

     18                  THE COURT:    Sure.

     19     BY MR. GOLDEN:

     20     Q.    The one on January 3, 2008 do you see that one?

     21     A.    I see that one, yes.

     22     Q.    Is it your testimony in court today that was a prerecorded

     23     messages that was left on your voicemail, on your cell phone?

     24     A.    Yes.

     25                  THE COURT:    I'm sorry, what are you showing him now?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 43 of 120


                                                                                Page 43
       1                 MR. GOLDEN:   The complaint, sir.

       2                 THE COURT:    Okay.

       3    BY MR. GOLDEN:

       4    Q.    So this January 3, 2008 message which says:         This message is

       5    for Larry Sclafani.       If you are not Larry Sclafani, please hang

       6    up or disconnect.      If you are Larry Sclafani, please continue

       7    listening to this message.          This is Semetra (phonetic) from

       8    I.C.System.     Please contact me regarding a personal business

       9    matter at 1-866-903-1001.          Again, that is 1-866-903-1001

     10     regarding a personal business matter.          Thank   you.   Did I read

     11     that correctly, sir?

     12     A.    That's correct.

     13     Q.    And it is your testimony today that was what you called a

     14     robot voice as opposed to a real person?

     15     A.    Yes.

     16     Q.    The second message January 31, 2008 do you see that one?

     17     A.    Yes.

     18     Q.    That one says:      Hello, this is I.C.S. calling for Larry

     19     Sclafani.     Please call us back at 1-800-561-5695 in regards to a

     20     very important business matter of yours.          Again, the    number is

     21     800-561-5695.     Thank you.

     22           Is it your testimony today in court, sir, that also was what

     23     you called a robot voice?

     24     A.    I would have to hear the voice, but I would think -- I would

     25     have to hear the voice.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 44 of 120


                                                                            Page 44
       1    Q.    So you don't know?

       2                 MR. YARBROUGH:   Objection, speculation.

       3                 THE WITNESS:   It sounds like a robot.

       4                 THE COURT:   Objection is overruled.

       5    BY MR. GOLDEN:

       6    Q.    It sounds like a robot voice when I read it?

       7    A.    Yeah, when you read it, yes.

       8    Q.    Now there is one for February 1, 2008 do you see that one?

       9    A.    Yes.

     10     Q.    It says:   Good morning.    This is Nancy.    Please have Larry

     11     Sclafani call me at 1-800-561-5695 regarding a personal matter.

     12     Again, the telephone number is 1-800-561-5695.        Thank you, bye.

     13           It is your testimony here in open court today, that too is

     14     what you called a robotic voice?

     15     A.    I would have to hear the voice, like I said, Mr. Golden, I

     16     would have to hear the voice.      Like I said pretty much it sounds

     17     like it would be a robot call.

     18     Q.    It sounds like it, or when I read it, it sounds like it?

     19     You don't recall, do you, sir?

     20     A.    I would have to hear it again.     The way it is written and

     21     the way it sounds when I hear it on the voicemail is completely

     22     different, but there is a distinction between the two, a definite

     23     distinction.

     24     Q.    These calls, these three calls, and we will get to the

     25     fourth one in a minute, did keep them?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 45 of 120


                                                                           Page 45
       1    A.    I'm sorry, say that again.

       2    Q.    Did you keep those recordings?

       3    A.    Did I keep those recordings?

       4    Q.    Yes?

       5    A.    Yeah, some of the voicemails I kept, yes.

       6    Q.    How did they end up here in this complaint, do you know?

       7    A.    How did they end up in this complaint?

       8    Q.    Yes?

       9                 MR. YARBROUGH:   Objection, your Honor, it's irrelevant

     10     how they ended up in the complaint.       The parties have stipulated

     11     that those calls were placed.       That the defendant made those

     12     calls.   It's in our pretrial stipulation.

     13                  MR. GOLDEN:   I think I will make my point here in about

     14     a minute.

     15                  THE COURT:    The objection is overruled.

     16     BY MR. GOLDEN:

     17     Q.    The reason they are here in the complaint is because you

     18     gave those to your attorney, didn't you, in some form, right?

     19     A.    Yes.

     20     Q.    Your attorney has these recordings, doesn't he?

     21     A.    Yes, he does.

     22     Q.    And you can't tell whether or not these are prerecords,

     23     these are robot voices or a live person, because you are not

     24     listening to those, are you?       If I played it for me, you could

     25     tell me, right?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 46 of 120


                                                                            Page 46
       1    A.    Could you repeat that?

       2    Q.    If I played it for you, you could tell me, right?

       3    A.    Probably, yes.

       4    Q.    The last message February 7th, 2008 do you see that one?

       5    A.    Yes.

       6    Q.    It says:   This message is for Larry.    Larry, this is NIck

       7    calling on behalf of a very important business matter.        Give me a

       8    call back as soon as you get this message at 1-800-561-5695 and

       9    we will be able to help you from there.       Thank you.

     10     A.    Mr. Golden, am I pronouncing that right, Mr. Golden, the

     11     tone of your voice when you just relayed that to me is what I

     12     would be able to determine whether it was a robot call.        Your

     13     voice goes up high and it goes low on certain words.        A robot

     14     call would be a monotone call.

     15           When you read these to me, as they are on this paper, you

     16     are emphasizing certain words and stuff like that.         Whereas a

     17     robot call has a certain monotone call.        So looking at this

     18     paper, the way it sounds, it would sound like a robot call,

     19     unless I heard it differently.

     20     Q.    Again, the best way for us to really know is to listen to

     21     those recordings?

     22     A.    Listen to the recordings.

     23     Q.    Now each one of these messages, these four messages that we

     24     have gone through was left my a different person, wasn't it?          It

     25     was a different speaker with each one of them, wasn't it, sir?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 47 of 120


                                                                           Page 47
       1    A.    Yes, sir, it indicates that.

       2               MR. YARBROUGH:   Pardon me, your Honor, I overlooked

       3    something.   Ms. Johnson's presence during Mr. Sclafani's

       4    testimony, I think is improper.      She is going to be testifying.

       5    I would ask to invoke the rule that she be sequestered and not

       6    allowed to listen to his testimony further.

       7               THE COURT:    Okay, what do you say?

       8               MR. GOLDEN:   Judge, he was complaining that she wasn't

       9    here and now he is complaining that she is.       She is the corporate

     10     representative.    The defendant has a right to be present here in

     11     the courtroom.

     12                THE COURT:    I think a Rule 615 you are allowed to have

     13     a corporate representative here.

     14                MR. YARBROUGH:   I think he is too, but I believe there

     15     is a rule that she is not allowed, another witness is not allowed

     16     to listen to the other witness, the opposing witness's testimony.

     17                THE COURT:    Sure under the rule of sequestration,

     18     except there is an exception for the parties, such as Mr.

     19     Sclafani can be here throughout the case, as well as a

     20     representative of the corporate party.      So I'm not going to have

     21     her sequestered.

     22                MR. YARBROUGH:   Thank you, your Honor.

     23                MR. GOLDEN:   Thank you, your Honor.

     24     BY MR. GOLDEN:

     25     Q.    Now, these four messages that we talked about, you, sir,




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 48 of 120


                                                                                Page 48
       1    don't recall I.C.System leaving any other messages on your cell

       2    phone than those four messages, do you, sir?

       3    A.     Other than these four messages?

       4    Q.     Correct, sir?

       5    A.     Oh, yes, I do, they left other messages before.

       6    Q.     Let me go back to your deposition again, sir.         Page

       7    twenty-one beginning at line nine.          Question:   Now other than

       8    these four messages that are here in the complaint, were there

       9    other messages left on your cell phone?           Answer:   Other than

     10     those messages?       Question:   Yes?   Answer:    From I.C.System?

     11     Question:       Yes, thanks for clarifying my question.       Answer:    I

     12     couldn't, you know this is 2008, I couldn't recall that.            That

     13     was your testimony at deposition?

     14     A.     Okay.

     15     Q.     Your testimony today, is, oh, yes, I do recall other phone

     16     calls. Is that accurate, sir?

     17     A.     Well, the fact that they left so many messages, wouldn't you

     18     think that they did call my cell phone.           I wasn't going through a

     19     lapse of memory at the deposition.

     20     Q.     No, you weren't.      I don't believe for a second that your

     21     memory at your deposition was in any way inaccurate, sir.            Thank

     22     you.

     23                    THE COURT:   Okay, any redirect?

     24                    MR. YARBROUGH:   Yes, sir.

     25                                 REDIRECT EXAMINATION




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 49 of 120


                                                                               Page 49
       1    BY MR. YARBROUGH:

       2    Q.    Mr. Sclafani, at your deposition I think Mr. Golden just

       3    took something out of context to make it look like you said

       4    something that you didn't really say.          Do you recall on page

       5    twenty-eight of your deposition at lines two on, do you recall me

       6    asking you this question.         Question:   Now you mentioned that you

       7    had some tape recordings of some of the calls, and it wasn't

       8    clear to me when you were talking before, do you recall receiving

       9    other messages than the tape recorded recordings that you have,

     10     right?   Your Answer:      Yes.

     11     A.    Yes.

     12     Q.    My next question was:       Question:   They called you other

     13     times.   Answer:    Right.

     14     A.    Right.

     15                  MR. GOLDEN:   Your Honor, I'm going to object to this

     16     line, because this doesn't say anything about messages on his

     17     cell phone and that's specifically what we are talking about.

     18     This question from Mr. Yarbrough to his client is a general

     19     question about other calls and other messages.          So it isn't

     20     contrary to his earlier testimony at deposition.

     21                  THE COURT:    What do you have to say about that,

     22     Mr. Yarbrough?

     23                  MR. YARBROUGH:   It's absolutely.     If you look down --

     24     oh, I'm sorry, your Honor, you don't have the transcript, but if

     25     you look down at line twenty-one it says:          Question:   And those




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 50 of 120


                                                                             Page 50
       1    messages were left on your cell phone.        I asked him and he said,

       2    yes.

       3                   They are leaving messages, he is clarifying his earlier

       4    testimony.

       5                   THE COURT:   Objection is overruled.

       6    BY MR. YARBROUGH:

       7    Q.     Larry, do you remember me asking you this question:

       8    Question:       And those, in some of the calls that you received from

       9    I.C.System, you would have received like the ones that you have

     10     tape recordings. Then I say, excuse me, let me start again.

     11     Besides the calls that you have the tape recordings on,

     12     I.C.System left other messages as well; is that correct?

     13     A.     That is correct.

     14     Q.     And you said yes at your deposition?

     15     A.     Right.

     16     Q.     The next question I asked you at line eighteen was:

     17     Question:       Did you listen to those messages on your cell.

     18     Answer:       Yes.

     19     A.     Yes.

     20     Q.     Line twenty-three I said:      Question:   Were they left on your

     21     cell phone after you told I.C.System to stop calling you and you

     22     said yes.

     23     A.     Yes.

     24     Q.     The next question up at the top of twenty-nine I said:

     25     Question:       When you listened to those messages, did you ever




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 51 of 120


                                                                             Page 51
       1    notice that some of the messages sounded like they were recorded,

       2    as opposed to whether they sounded like they were live people

       3    taking when you listened to the messages?       You said yes?

       4    A.    Yes.

       5    Q.    Then I asked you to tell me in your own words -- Larry, so

       6    when you say you received prerecorded messages from I.C.System,

       7    you're going solely on what you hear in that message.         Am I

       8    understanding your correctly?

       9    A.    Yes.

     10     Q.    So from Mr. Golden reading the paper or from you reading the

     11     paper, you can't tell if the messages are prerecorded?

     12                  MR. GOLDEN:    Objection, leading, your Honor.

     13                  THE COURT:    Sustained.

     14                  THE WITNESS:   I think I already explained that to

     15     Mr. Golden.

     16                  THE COURT:    Hold on, there is no question pending.

     17     BY MR. YARBROUGH:

     18     Q.    Before you had your deposition, did you know that it was

     19     going to make a difference in this case if you gave your cell

     20     phone number to Washington Mutual or not?

     21     A.    No.

     22     Q.    You didn't know at all?

     23     A.    No.

     24     Q.    What did you understand was the reason you were suing them?

     25     Let me put it this way.       Why did you sue I.C.System, in your own




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 52 of 120


                                                                            Page 52
       1    words.

       2    A.    For harassment.     Like I said they kept on calling every day,

       3    every day, every day, and it just got to the point where I

       4    thought there must be a law against this.        Even when I talked to

       5    them and told them the financial situation is bad, etcetera,

       6    etcetera, and then when I told them to stop calling and they

       7    would continue to call.      Then when I told them, I received your

       8    letters.    I will act upon the letters when I have a chance,

       9    etcetera, etcetera, they continued to call afterwards to the

     10     point where I just got to the breaking point.

     11     Q.    Did you feel that it didn't make any difference what you

     12     said to them?

     13     A.    No, it didn't make a difference what I said to them.      They

     14     just went right back to the same thing, the same type of call

     15     after I can tell them what I needed to tell them.        Then they

     16     would call the following day or two days later and act like

     17     nothing was there.      It was like you owe this money, when are you

     18     going to pay it, can you send out something etcetera, etcetera,

     19     etcetera.

     20     Q.    When you had your deposition, did you have a vague memory --

     21     excuse me, let me put it this way.      When you had your deposition,

     22     you didn't specifically recall when you got the credit card; is

     23     that correct?

     24                 MR. GOLDEN:    Objection, leading.

     25                 THE WITNESS:   Correct.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 53 of 120


                                                                           Page 53
       1               THE COURT:   Sustained.

       2    BY MR. YARBROUGH:

       3    Q.    After you had your deposition, excuse me, what made you,

       4    after you had your deposition try to find out when you got your

       5    cell phone and when you got the Washington Mutual card?

       6    A.    The curiosity of it all, and the fact that I thought for

       7    sure, I knew I had the cell phone for a period of time, and I was

       8    just trying to figure out when I got the cell phone and when I

       9    got the card, because they kept on dwelling on that.      I just

     10     didn't understand.

     11     Q.    When you say they kept on dwelling on that?

     12     A.    Mr. Golden kept on asking about that.     I said, wait a minute

     13     something is not right here.

     14     Q.    But at that time you didn't even understand?

     15     A.    No, it never dawned on me that was pertinent to anything.

     16     Q.    You just wanted them to stop calling you?

     17     A.    Yeah, I just wanted them to stop calling.

     18     Q.    You mentioned that you use your cell phone for business.

     19     Could you tell us what you mean by using it for business, why is

     20     it important to use it?

     21     A.    I give my cell phone out to like contractors, because they

     22     have a turnover of jobs.    Sometimes, most times if you don't act

     23     upon the job right away, you lose the job because they have given

     24     it to somebody else.    That type of thing.   So I always want to

     25     make sure they have my cell phone, so that they can contact me




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 54 of 120


                                                                           Page 54
       1    directly with job offers.

       2    Q.    So the reason you give your cell number to --

       3               THE COURT:   This is leading, because I think he has

       4    already answered the question.     You don't need to repeat

       5    something.

       6               MR. YARBROUGH:   I'm sorry.

       7    BY MR. YARBROUGH:

       8    Q.    When you say contractors, you are talking about general or

       9    other --

     10     A.    -- general contractors or property managers, somebody I know

     11     that would have jobs.

     12     Q.    That would give you work.    So that's the urgency of the cell

     13     phone?

     14     A.    Right, and emergency purposes for family, like anybody else.

     15                MR. YARBROUGH:   Okay, no further questions, thank you.

     16                THE COURT:   Thank you, sir, you may step down.    Any

     17     further witnesses for the plaintiff?

     18                MR. YARBROUGH:   Yes, we would call Susan Johnson.

     19                        -------------------------------

     20     THEREUPON,

     21                           SUSAN ELIZABETH JOHNSON,

     22     a witness of lawful age having been first duly sworn testified on

     23     her oath as follows:

     24                THE CLERK:   State your full name and spell it for the

     25     record.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 55 of 120


                                                                           Page 55
       1                 THE WITNESS:   Susan Elizabeth Johnson, S-U-S-A-N,

       2    E-L-I-Z-A-B-E-T-H, J-O-H-N-S-O-N.

       3                                DIRECT EXAMINATION

       4    BY MR. YARBROUGH:

       5    Q.    Ms. Johnson, what is your job position at I.C.System?

       6    A.    Director of Legal Affairs.

       7    Q.    How long have you had that position?

       8    A.    A little over two years.

       9    Q.    Before that were you employed with I.C.System?

     10     A.    Yes.

     11     Q.    In what capacity?

     12     A.    Manager of Legal Affairs.

     13     Q.    Did your duties change when you changed positions?

     14     A.    No.

     15     Q.    So just your title changed?

     16     A.    Right, it was a promotion.

     17     Q.    How long had you been employed in the two different

     18     positions at I.C.System total?

     19     A.    Six and a half years.

     20     Q.    How long have you been employed with I.C.System in total?

     21     A.    Almost thirty-one years.

     22     Q.    What age were you when you started with I.C.System?

     23     A.    Nineteen.

     24     Q.    So you have worked for I.C.System your entire life?

     25     A.    Well, no.



                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 56 of 120


                                                                           Page 56
       1    Q.    Your entire working life?

       2    A.    A long time.

       3    Q.    Have you ever been arrested?

       4    A.    No.

       5    Q.    Have you ever been accused of perjury?

       6    A.    No.

       7    Q.    How many times have you testified for I.C.System at trial?

       8                MR. GOLDEN:   Objection, relevance, your HOnor.

       9                THE COURT:    As to the first two questions, you

     10     shouldn't be asking those questions unless you have some good

     11     faith basis to ask those, which I assume you don't have any

     12     knowledge that she has been arrested or accused of a crime?

     13                 MR. YARBROUGH:   Oh, no, your Honor.   I was attempting

     14     to establish that she is the person at I.C.System that is very

     15     knowledgable, highly knowledgable of the business's procedures.

     16     I'm not attempting to impeach her by her trial testimony, just to

     17     show the frequency of it.

     18                 MR. GOLDEN:   Your Honor, here is my problem with that.

     19     I think what he is trying to do is create some sort of

     20     implication that my client gets sued a lot and therefore done

     21     something wrong.     We will stipulate that everything that he said

     22     regarding her knowledge and her experience with the company.          He

     23     doesn't have to prove anything to my satisfaction.

     24                 THE COURT:    The objection is overruled.   You can ask

     25     the question or you can accept the stipulation.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 57 of 120


                                                                             Page 57
       1    BY MR. YARBROUGH:

       2    Q.    Can you tell us how many times you have testified at trial

       3    for I.C.System?

       4    A.    Yes.

       5    Q.    How many?

       6    A.    Five.

       7    Q.    Five trials?

       8    A.    Yes.

       9    Q.    How many times for a deposition?

     10     A.    More than thirty, less than thirty-five.

     11     Q.    Are you familiar with I.C.System's policies regarding

     12     collection of debts?

     13     A.    Yes.

     14     Q.    Would you be the person at the firm that is most familiar

     15     with those policies?

     16     A.    Pretty much so.

     17     Q.    Has I.C.System been sued before for violation of TCPA?

     18                   MR. GOLDEN:    Objection, your Honor, relevance.

     19                   THE COURT:    That goes to willfulness.

     20                   MR. YARBROUGH:   It does, that's exactly right.

     21                   MR. GOLDEN:    Your Honor, unfounded allegations of

     22     lawsuits it would be hearsay.

     23                   THE COURT:    Your objection is overruled.   You can

     24     answer the question.

     25                   THE WITNESS:   Repeat the question.



                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 58 of 120


                                                                           Page 58
       1    BY MR. YARBROUGH:

       2    Q.    Has I.C.System been sued -- well, first you are familiar

       3    with the Telephone Consumer Protection Act, right?

       4    A.    Right.

       5    Q.    It's referred to as the TCPA?

       6    A.    Yes.

       7    Q.    You are familiar with the provisions of that act?

       8    A.    In general, yes.

       9    Q.    Are you familiar with, do you believe that your firm has to

     10     comply with the TCPA?

     11                  MR. GOLDEN:    Objection, it calls for a legal

     12     conclusion.

     13                  THE COURT:    Sustained.

     14     BY MR. YARBROUGH:

     15     Q.    What is your understanding of what your firm has to do to

     16     comply with the TCPA?

     17                  THE COURT:    What does the TCPA cover?

     18                  MR. YARBROUGH:   Let me go more directly, your Honor.

     19                  THE COURT:    Get to the point of what this is about.

     20                  MR. YARBROUGH:   I'm sorry.

     21     BY MR. YARBROUGH:

     22     Q.    Does the TCPA prevent your firm from calling Larry Sclafani

     23     on his cell phone using an auto dialer?

     24                  MR. GOLDEN:    Objection, calls for a legal conclusion.

     25                  THE COURT:    Overruled.   Your understanding.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 59 of 120


                                                                           Page 59
       1                 THE WITNESS:   Repeat the question.

       2    BY MR. YARBROUGH:

       3    Q.    Does the TCPA prohibit your firm from calling Larry Sclafani

       4    on his cell phone using an auto dialer?

       5    A.    No.

       6    Q.    It doesn't.   Can you please explain why it doesn't?

       7    A.    Well, in this case we were given, he gave the cell phone

       8    number to the creditor, so there was consent.

       9    Q.    So because of his consent, you were allowed to use an auto

     10     dialer to call him?

     11     A.    We could have, yes.

     12     Q.    And you did use an auto dialer to call him?

     13                  MR. GOLDEN:    Objection, calls for a legal conclusion

     14     regarding what is an auto dialer.

     15                  THE COURT:    Define to her what an auto dialer is.

     16     BY MR. YARBROUGH:

     17     Q.    Did I.C.System, you admit that I.C.System called Larry

     18     Sclafani; is that right?

     19     A.    Yes.

     20     Q.    And you admit that you called him on a phone number that you

     21     now know to be his cell phone?

     22     A.    Correct.

     23     Q.    In placing those calls did I.C.System use any sort of

     24     automated dialing device?

     25                  MR. GOLDEN:    Objection, your Honor, it's the same




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 60 of 120


                                                                             Page 60
       1    objection an automated dialing device.         I don't know what that

       2    means.

       3                  THE COURT:   Objection is overruled.

       4                  THE WITNESS:   I know that we have -- first of all I'm

       5    not a techie, so we do have technology that aids in calling

       6    debtors, computer technology.

       7    BY MR. YARBROUGH:

       8    Q.    I would like to show you what has been marked as Exhibit A,

       9    excuse me, not Exhibit A, Exhibit No. 1, I'm sorry, parties joint

     10     Exhibit No. 1.      Could you turn to the page -- unfortunately these

     11     pages aren't numbered, but it's on about three pages in and the

     12     dates on that page are December 21, '07 -- excuse me December

     13     20th, and also December 21st, and that is in the second column,

     14     which is the date column.

     15     A.    Okay.

     16     Q.    Do you see the list --

     17                   THE COURT:   Wait, wait, wait -- what is the date at the

     18     top and the time?

     19                   MR. YARBROUGH:   The first call at the top is 12/20/07.

     20                   THE COURT:   At what time?

     21                   MR. YARBROUGH:   At 11:24 p.m.

     22                   THE COURT:   Okay.    Is that the page the witness has?

     23                   THE WITNESS:   Yes.

     24     BY MR. YARBROUGH:

     25     Q.    About half way down that page, there are a series of --




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 61 of 120


                                                                           Page 61
       1                THE COURT:    Wait, I want to stop this right here.    I

       2    want you to number the pages starting with the first page of the

       3    computer printout as page one.       Do you understand, not the

       4    request to produce.      Then number every page sequential to that

       5    writing the number somewhere at the bottom of the page.

       6                THE WITNESS:    So page one is starting with the

       7    12/20/07?

       8                THE COURT:    Page one says collect screen on top.

       9                THE WITNESS:    Oh, okay.   Cheryl, can you put page

     10     numbers on the Court's copy.

     11                 THE CLERK:    Yes.   What page starting?

     12                 THE COURT:    On the upper left hand corner, it says

     13     collect screen.    It's the first computer printout page that

     14     follows the request for production.       In the left hand corner it

     15     says collect screen --

     16                 THE CLERK:    That would be page one?

     17                 THE COURT:    Yes.

     18                 MR. YARBROUGH:   I count fifty-one pages.

     19                 THE COURT:    That's what I have.   Refer to them because

     20     it's a response to your request to production we are going to

     21     call it R-1, R-2, R-3, R-4, R-5 and R-6 the request for

     22     production.   Following that will be the regular page numbers.

     23     Okay, what page are you referring to?

     24     BY MR. YARBROUGH:

     25     Q.    Referring to page five and in the center of that page there




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 62 of 120


                                                                           Page 62
       1    is a message that has a time, has a date of 12/21/07 and a time

       2    of 12:21 as well and it's the last one that has such a time.

       3    Ms. Johnson, do you see that message, that entry?

       4    A.    Yes.

       5    Q.    It says dialer work, no payment; is that right?

       6    A.    That's correct.

       7    Q.    What does that mean?

       8    A.    Well, you have to look at the whole date there on 12/21/07.

       9    To the left of the date you see CKL, that is a collector's

     10     initials and that person is updating their experience with taking

     11     a call with the debtor.       So you have to look at all those lines

     12     together.

     13     Q.    What does the phrase dialer work mean?

     14     A.    That means they are working on manual calls.

     15     Q.    How do you indicate in these notes that a dialer was used?

     16     A.    It's not there      but --

     17                  MR. GOLDEN:   Your Honor, I'm going to object, I think

     18     the witness is confused by what he means when he says dialer.

     19                  MR. YARBROUGH:   An automated.

     20                  THE COURT:    She just said dialer work means manual.    So

     21     are you talking about a manual call?

     22                  MR. YARBROUGH:   No, sir.   I can redo the question.

     23     BY MR. YARBROUGH:

     24     Q.    Does I.C.System use automated dialing technology to call

     25     consumers to collect debts?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 63 of 120


                                                                           Page 63
       1    A.    What do you mean by automated dialing?

       2    Q.    All right, you are familiar with a traditional telephone

       3    where a person types in numbers with their finger to dial a

       4    number; is that right, you are familiar with that?

       5    A.    Right, sure.

       6    Q.    You're also familiar, or are you also familiar with

       7    automated or computerized dialing systems in which a person does

       8    not manually dial the phone numbers by using their fingers?

       9    A.    Just a little in general, again I'm not a techie.

     10     Q.    But you are the witness that appears for your client in TCPA

     11     cases; isn't that correct?

     12     A.    I have not appeared for that.

     13     Q.    Are you aware of a case in which you have been identified as

     14     a witness by your firm as being the person with the most

     15     knowledge of the TCPA?

     16     A.    No, I don't think so.

     17     Q.    Are you aware that a Court has entered an order requiring

     18     you in another case to appear this Friday to be deposed in a

     19     case?

     20                MR. GOLDEN:   Your Honor, I don't know what this has to

     21     do with the price of tea in China.

     22                MR. YARBROUGH:   She is claiming she doesn't know

     23     anything about the TCPA or has little knowledge, but her company

     24     asserts her as the firm's witness with the most knowledge.

     25                MR. GOLDEN:   I don't know what he is talking about,




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 64 of 120


                                                                           Page 64
       1    your Honor.

       2               MR. YARBROUGH:    Mr. Golden knows, he is counsel in the

       3    other case I'm referring to, Mr. Golden is the counsel, is the

       4    firm's counsel.    Been ordered    to appear in Sympio (phonetic)

       5    versus I.C.System this Friday to testify as the witness with the

       6    most knowledge of the TCPA.

       7               MR. GOLDEN:    Are we going to have an argument about

       8    that case here, your Honor, because what he is saying is

       9    inaccurate.   Is there a corporate representative deposition,

     10     yeah.    There is a 30B6 deposition this week for I.C.System in

     11     that case.    There here.

     12                Now his position, and this is where I think it crosses

     13     the line, to say that we have been ordered to do this.       We had to

     14     file a motion for protective order in that case, because he

     15     unilaterally set that deposition.      So we haven't been ordered.

     16     He makes it sound like we are trying to do something wrong and we

     17     are not.   There is a deposition of I.C.System's corporate

     18     representative in a similar case this Friday.       That's the extent

     19     of it.   No one has said that this is the person.      We haven't

     20     designated that.

     21                THE COURT:    That's what asking the witness if she has

     22     been designated in that case.      Have you been?

     23                THE WITNESS:     No, I have not.

     24     BY MR. YARBROUGH:

     25     Q.    Are you aware that you will be testifying this Friday in




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 65 of 120


                                                                           Page 65
       1    another case by video conferencing from Minneapolis?

       2    A.    My understanding it wasn't established yet who was going to

       3    be that.

       4    Q.    You're not aware of the representations your attorneys made

       5    before a Magistrate in Miami that you were not available on any

       6    other day other than this coming Friday to testify?

       7               MR. GOLDEN:    Your Honor, again, if we want to open this

       8    whole can of worms.     It is obvious what he is now implying is

       9    that I made some sort of misrepresentation.      Again, if we break

     10     out the rule book and read 30B6, we can designate as many

     11     different areas of inquiry as we want.     We are not required to

     12     say that this specific person, that we are going to pick one

     13     person.    This is frankly from my office the first time we have

     14     ever had a deposition that involves both fair debt claims and a

     15     TCPA claim.   As Ms. Johnson testified, she has never testified in

     16     a TCPA claim case and we haven't made a determination who that

     17     TCPA witness is going to be.     But from what her testimony is

     18     today, it is likely not going to be her.

     19                THE COURT:    Enough speaking objections.   The objection

     20     is overruled.   He is asking her a question.     Does she plan on

     21     testifying regarding TCPA Friday, yes or no?      She said, no,

     22     right?

     23                THE WITNESS:   Right, no.

     24     BY MR. YARBROUGH:

     25     Q.    You're not planning to testify?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 66 of 120


                                                                           Page 66
       1    A.    No.

       2    Q.    Okay.    Are you aware that your attorney's have represented

       3    to a Judge in Miami that you could not sit for your deposition on

       4    October 16th, because October 30th was the first day that you

       5    were available, and that you would be the witness testifying for

       6    them?

       7    A.    I don't remember that, no.

       8    Q.    No, you weren't there.   I said are you aware that your

       9    attorney's made that representation to a Judge?

     10     A.    I don't know.

     11     Q.    Okay, so you are not aware of that?

     12     A.    Right.

     13     Q.    Going back to the TCPA, the dialing device, are you aware of

     14     statement on your firm's website that you use that your firm uses

     15     auto dialing technology to call consumers?

     16     A.    I don't know if it does or not, I'd have to see it.

     17     Q.    Are you aware -- let me put it this way.     How many

     18     collectors does your firm have?

     19     A.    Approximately eight hundred.

     20     Q.    Eight hundred collectors?

     21     A.    Yes.

     22     Q.    Do those eight hundred collectors when they are calling

     23     consumers, do they always call the consumers by dialing the

     24     number with their fingers?

     25     A.    No.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 67 of 120


                                                                           Page 67
       1    Q.    When they don't dial the numbers with their fingers, what do

       2    they do?

       3    A.    They wait for it to come up on their system, wait for it to

       4    connect into their phone.

       5    Q.    So you have a device that telephones the consumers -- tell

       6    me if I'm right -- you have a device that telephones consumers

       7    and when it gets a consumer on the line, it funnels that call

       8    into a collector for in person communication?

       9    A.    Again, as I said before I'm not the technical person.      I

     10     know we use computerized tools to aid in collecting debts.       We

     11     also have what we call transfer agents that talk to people and

     12     make sure the correct party and then calls are also transferred

     13     to collectors when the right party is determined, but I don't

     14     know the specifics of our equipment.

     15     Q.    Are you, you were aware and your firm was aware that you

     16     settled the FDCPA and the Florida Act components of this case and

     17     that you paid Mr. Sclafani for the damages on those claims; is

     18     that correct?

     19     A.    That's correct.

     20     Q.    You are aware of that.   And you were aware that today the

     21     only issue in this case was the TCPA?

     22     A.    Correct.

     23     Q.    Why weren't you here at ten o'clock to represent your

     24     company?

     25                MR. GOLDEN:   Objection, relevance, your Honor.    Again,




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 68 of 120


                                                                           Page 68
       1    there is no requirement under the law that the defendant be

       2    physically present at trial.     This has nothing to do with whether

       3    or not my client violated the TCPA in its calls Mr. Sclafani.

       4               THE COURT:    The objection is overruled.   Why weren't

       5    you here at ten o'clock?

       6               THE WITNESS:   Well, I was working, and at the advice of

       7    Mr. Golden.

       8    BY MR. YARBROUGH:

       9    Q.    You were advised by Mr. Golden to not be here?

     10     A.    That, no, he said I should be available, but he was going to

     11     address the Court with his positions on whether me being here or

     12     not was required.

     13     Q.    Physically where were you at ten o'clock this morning?

     14                THE COURT:    That doesn't make any difference.    Move on.

     15     BY MR. YARBROUGH:

     16     Q.    Isn't it true that your firm uses prerecorded messages in

     17     telephoning consumers?

     18                MR. GOLDEN:    Objection, your Honor, relevance with

     19     regard to this specific plaintiff.

     20                MR. YARBROUGH:   He has alleged that he received

     21     prerecorded messages from the defendant and prerecorded messages

     22     violate the TCPA.

     23                MR. GOLDEN:    I don't have a problem with him asking

     24     with regard to this specific plaintiff.     But whether we use it

     25     with these debtors as opposed to Mr. Sclafani is irrelevant.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 69 of 120


                                                                           Page 69
       1                 THE COURT:   Okay, overruled.

       2    BY MR. YARBROUGH:

       3    Q.    Does your firm use prerecorded messages when calling

       4    consumers?

       5    A.    In general, yes, we do.

       6    Q.    Are you aware that your attorney just represented to this

       7    Court, that your firm did not use prerecorded messages?

       8    A.    No, I'm not.

       9                 THE COURT:   Let's get to the point here.   What is the

     10     difference if she knows what her attorney said.      The question is

     11     what are the facts.

     12     BY MR. YARBROUGH:

     13     Q.    Does your firm have a means of notating messages in the

     14     account history notes as to whether or not the messages left for

     15     the consumer were a prerecorded message or there was a live

     16     communication?

     17     A.    Yes.

     18     Q.    What is the notation that is used for prerecorded messages?

     19     A.    There would be an indication that we used the vendor Live

     20     Vox, I believe VOX, Live Vox.

     21     Q.    How would that be noted?

     22     A.    It would indicate Live Vox in the history notes.

     23                  THE COURT:   It would indicate what, that it was a

     24     prerecorded message?

     25                  THE WITNESS:   It would say Live Vox and then Live Vox




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 70 of 120


                                                                           Page 70
       1    is a vendor that we use, if we were to use that technology and

       2    then it would indicate what Live Vox's result was, whether there

       3    was a message left or there was dead air or something like that.

       4    BY MR. YARBROUGH:

       5    Q.    Is Live Vox an outside service that you use?

       6    A.    Yes.

       7    Q.    Are there other outside services than Live Vox that your

       8    firm uses?

       9    A.    Yes.

     10     Q.    What are they called?

     11     A.    TCN.

     12     Q.    When your firm makes a Live Vox call, a call through Live

     13     Vox, are those noted in your records L-I-V-E, V-O-X, is that how

     14     it is noted?

     15     A.    No.

     16     Q.    How is it noted?

     17     A.    On TCN it wouldn't be noted.    We receive reports from TCN.

     18     Q.    What about Live Vox, how is it noted?

     19     A.    Live Vox is noted in the notes.

     20     Q.    How is it distinguished, what is the phrase?

     21     A.    For what?

     22     Q.    For Live Vox calls?

     23     A.    It says Live Vox in the notes.

     24     Q.    Where?

     25     A.    If we made one, it would be in the notes.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 71 of 120


                                                                           Page 71
       1    Q.    Would it be designated by a character or a letter or a

       2    number?

       3    A.    It would say Live Vox.

       4    Q.    So it would have the words L-I-V-E, V-O-X?

       5    A.    Yes.

       6    Q.    What is the other service you use?

       7    A.    TCN.

       8    Q.    When you use the TCN service, do your notes have a notation

       9    regarding TCN/

     10     A.    No.

     11     Q.    From looking at these notes, can you tell if your firm used

     12     TCN to leave prerecorded messages for Mr. Sclafani?

     13     A.    Not by looking at the notes.     However, on this client we do

     14     not use Live Vox or TCN period.

     15     Q.    Do you have an agreement, a written agreement with this

     16     client?

     17     A.    We have a written agreement with this client.

     18                  THE COURT:   This client, what, are we talking about

     19     Washington Mutual?

     20                  THE WITNESS:   Yes.

     21     BY MR. YARBROUGH:

     22     Q.    Are you familiar with the terms of that written agreement?

     23     A.    I don't have it memorized, I know there is one in existence.

     24     Q.    But you do know that agreement provides for what with regard

     25     to prerecorded calls?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 72 of 120


                                                                           Page 72
       1    A.    In the master agreement there wouldn't be anything specific

       2    about our collection attempts.     They would be in what is referred

       3    to as statement of work, which can be changed etcetera.      But

       4    based on my experience with this client, they did now allow to

       5    use any prerecorded messaging on their accounts.

       6    Q.    Do you have a specific written agreement with Washington

       7    Mutual that prohibits you from using prerecorded messages?

       8    A.    I don't know, but there is a written.

       9    Q.    Why is it that you say that you know that Washington Mutual

     10     doesn't allow prerecorded messages?

     11     A.    Based on my experience on other issues, as well as dealing

     12     with the vice-president of financial services, who was

     13     responsible for that client, as well as account managers, my

     14     understanding from all of them and the notes in the history on

     15     this specific account, they don't allow those types of messages.

     16     Q.    What notations would the TCN -- excuse me, I believe you

     17     said that TCN, the TCN service uses prerecorded messages, right?

     18     A.    Right.

     19     Q.    You used TCN to broadcast prerecorded messages to consumers,

     20     right?

     21     A.    On other client's accounts, we have.

     22     Q.    So you do use prerecorded messages, but you are saying you

     23     didn't use them with Mr. Sclafani's account?

     24     A.    That's correct.

     25     Q.    Now what in these notes shows you that you did use or you




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 73 of 120


                                                                           Page 73
       1    did not use TCN?

       2    A.    The lack of indication of Live Vox in there in the notes.

       3    The fact that WaMu or Washington Mutual didn't allow auto

       4    messaging.    And in the notes it shows that individual collectors

       5    left messages.

       6    Q.    But didn't you just testify that the notes, if you used TCN,

       7    these notes won't show it?

       8    A.    That's correct.

       9    Q.    One way or the other?

     10     A.    Also, in our investigation through discovery, we contacted

     11     Live Vox to verify that there weren't any type of those messages

     12     on any of those phone numbers in our records, as well as TCN.

     13     Q.    Did you do that yourself?

     14     A.    I directed the person that reports to me and I'm familiar

     15     with the responses.

     16     Q.    And the responses you received were written responses; isn't

     17     that right?

     18     A.    That's correct.

     19     Q.    Why didn't you produce them in this case?

     20     A.    I don't know.

     21     Q.    Why didn't you designate Live Vox or TNC as witnesses in

     22     this case?

     23     A.    It's TCN and I don't know.

     24     Q.    Don't you think that Live Vox and TCN would have information

     25     relevant to this case?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 74 of 120


                                                                           Page 74
       1    A.    I don't know, I guess so, they responded to us.

       2    Q.    You said that you initiated a communication?

       3               THE COURT:   They responded and said they didn't have

       4    any information.    So they don't have information relevant to it.

       5               MR. YARBROUGH:   But it wasn't disclosed to us.

       6    BY MR. YARBROUGH:

       7    Q.    As far as the numbers that your firm used to call for

       8    Mr. Sclafani, where did you get the phone numbers that you used

       9    to call Mr. Sclafani?

     10     A.    From our client Washington Mutual.

     11     Q.    Do you have any knowledge of where Washington Mutual

     12     obtained those numbers?

     13     A.    I know that, yes, I do have knowledge.

     14     Q.    What is that knowledge?

     15     A.    That knowledge is that they would have gotten these numbers

     16     from the initial application.     If they hadn't, they would have

     17     asked us to do the skip tracing on their behalf.

     18     Q.    How do you know that?

     19     A.    Because I know from dealing with that client.

     20     Q.    How do you know that Washington Mutual didn't do its own

     21     skip trace?

     22     A.    They outsource their skip tracing to other agencies.

     23     Q.    But how do you know they did or they didn't do it in this

     24     case?

     25     A.    Because we would have been the one they would have




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 75 of 120


                                                                           Page 75
       1    outsourced it to.

       2    Q.    One of these numbers that you called, you called three

       3    numbers for Mr. Sclafani.     One of the numbers he says isn't his

       4    number.   If it's not his number, how can you say that number

       5    appeared in the application?

       6               MR. GOLDEN:    Objection, speculation.

       7               MR. YARBROUGH:   It is speculative.

       8    BY MR. YARBROUGH:

       9    Q.    Wouldn't you be speculating?

     10                THE COURT:    What is the question?

     11                MR. YARBROUGH:   Okay, my question is they called

     12     Sclafani on this certain number.     He says isn't his number.    She

     13     just testified, oh, we got the numbers from Washington Mutual and

     14     Washington Mutual took it from the application.      So my question

     15     is, if Washington Mutual got it from the application, why is it

     16     that it is not his number?     How does she know that?

     17                THE COURT:    Do you know the answer to that?

     18                THE WITNESS:   I don't know.

     19     BY MR. YARBROUGH:

     20     Q.    So you would be speculating about where Washington Mutual

     21     got these numbers for Mr. Sclafani?

     22     A.    I feel pretty confident about the client.     They have been a

     23     client of our for about, well they have changed now to Chase, but

     24     we have had a relationship with them for seven, eight years.

     25     Q.    But you can't say, you have no knowledge of what Washington,




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 76 of 120


                                                                            Page 76
       1    you can't testify for Washington Mutual and say, how they got

       2    this number, you don't know that, do you?

       3    A.    I only know what I know.

       4                THE COURT:   You're asking her these questions and when

       5    she answers, you are saying she shouldn't answer -- I don't

       6    understand why you ask her, where did Washington Mutual get these

       7    numbers, she tells you and then you say how can you say that.

       8                MR. YARBROUGH:   Well, my point is this.   She is saying

       9    Washington Mutual got these numbers from Mr. Sclafani's original

     10     application. Well, they have got a number that they are calling,

     11     which isn't his number.      So the point there is Washington

     12     Mutual --

     13                 THE COURT:   -- that's argument, that's not a question

     14     for her.    First of all I don't know why you even ask her that

     15     question.

     16                 MR. YARBROUGH:   To show there was other skip tracing

     17     done that obtained improper numbers for Mr. Sclafani including

     18     his cell number.

     19     BY MR. YARBROUGH:

     20     Q.    Okay, do you have any personal knowledge of whether

     21     Washington Mutual sent this debt to any other collectors before

     22     it sent it to your firm?

     23     A.    No.

     24     Q.    So they could have sent it to another debt collector?

     25     A.    Yes, they could.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 77 of 120


                                                                           Page 77
       1    Q.    Do you have any personal knowledge that Lawrence Sclafani

       2    ever signed an application or provided an application that had

       3    his cell number on it to Washington Mutual?

       4    A.    I don't have personal knowledge, but I have all those other

       5    facts.

       6    Q.    You suspect it?

       7    A.    I highly suspect it.

       8    Q.    But you don't have any proof of it?

       9    A.    Okay.

     10     Q.    You agree with that, you don't have any proof of it?

     11     A.    Well, I would hope I have a little bit of whatever. I mean

     12     based on my experience with that client and my understanding of

     13     how it all works, I feel pretty good about the fact and our notes

     14     that we didn't do any skip tracing.

     15     Q.    I wasn't asking you about your skip tracing.

     16     A.    I understand that, but you are asking me -- go ahead.

     17     Q.    Have you ever worked for Washington Mutual?

     18     A.    No.

     19     Q.    Have you ever been to Washington Mutual's calling center or

     20     credit card centers?

     21     A.    Yes.

     22     Q.    How long were you there for?

     23     A.    I have made a few trips out to California, and when did that

     24     I met with various employees of Washington Mutual for a couple of

     25     days at the time.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 78 of 120


                                                                           Page 78
       1    Q.    So for two days you have met with people at Washington

       2    Mutual?

       3    A.    In each trip.

       4    Q.    Have you ever seen an application -- have you ever seen

       5    Lawrence Sclafani's application for the Washington Mutual card?

       6    A.    No, I have not.

       7    Q.    Didn't you request it from Washington Mutual to prove your

       8    case?

       9    A.    I know we requested whatever information they would have.

     10     Q.    You did request it from Washington Mutual?

     11     A.    We asked for debt information.

     12     Q.    You asked for that from Washington Mutual?

     13     A.    Right.

     14     Q.    To try to prove your case?

     15     A.    To help us, sure.

     16     Q.    What did Washington Mutual give you?

     17     A.    They sold the account, so they didn't have the information

     18     anymore is what they told us.

     19     Q.    So you don't have any documentary proof that Mr. Sclafani

     20     provided his cell number to Washington Mutual at any time; is

     21     that right?

     22     A.    Other than our records of how the number came in.

     23     Q.    Could you finish please.    You don't have any proof; is that

     24     right?

     25                MR. GOLDEN:    Objection, asked and answered, your Honor.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 79 of 120


                                                                           Page 79
       1                 THE COURT:   Sustained, she said the only proof is the

       2    way it came into her, it's circumstantial proof she is saying.

       3    BY MR. YARBROUGH:

       4    Q.    Are you familiar with the notes for Larry Sclafani's

       5    account?

       6    A.    Yes.

       7    Q.    Are you familiar, take a look at page six, for example and

       8    you see the calls there, that start on 12/22 up at the top of the

       9    page and then the next column has the time.

     10     A.    Yes.

     11     Q.    You see the next column there next to the time, do you see

     12     all those calls with a "D" in it?

     13     A.    Yes.

     14     Q.    What does that mean?

     15     A.    I believe it indicates that we are dialing a number.

     16     Q.    Dialing that number using an auto dialer, right?

     17     A.    It's our technology.

     18     Q.    Yes, it's our technology, but it's called an auto dialer;

     19     isn't that right?

     20     A.    I'm not sure if they call it auto dialer, a dialer.

     21     Q.    What do you call it?

     22     A.    I call it the computerized dialing technology.

     23     Q.    That's when you are testifying in court, but what do you

     24     call it at your office?

     25     A.    They call it a dialer.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 80 of 120


                                                                           Page 80
       1    Q.     So those calls there were all placed, those calls with the

       2    "D" were all placed with a dialer?

       3    A.     Yes.

       4    Q.     So this is a dialer that your firm has in-house, as opposed

       5    to the Live Vox and the TCN dialer which are subcontractors for

       6    you?

       7    A.     Correct.

       8    Q.     How many dialers do you have in-house?

       9    A.     I don't know.

     10     Q.     You have more than one, right?

     11     A.     I'm not sure.

     12     Q.     How many calls a month or per day or per week does

     13     I.C.System make to consumers in America?

     14     A.     Attempts would be hundreds of thousands.

     15     Q.     Hundreds of thousands per what period?

     16     A.     Months.

     17     Q.     What would you say the number of calls a day?

     18     A.     Well, I don't know the number, I just know we make a lot of

     19     calls, yes.

     20     Q.     You make several hundred thousands calls per day?

     21     A.     It could be.

     22     Q.     And one of the reasons you can make so many calls, with only

     23     I think you said you had two hundred collectors?

     24     A.     Eight hundred, about eight hundred.

     25     Q.     One of the reasons you can make so many calls is you use




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 81 of 120


                                                                           Page 81
       1    automated dialing technology; isn't that right?

       2    A.    We use, yeah, computerized technology.

       3    Q.    And you used it to call Mr. Sclafani; isn't that right?

       4    A.    That's correct.

       5    Q.    How many times did you use your auto dialer to call

       6    Mr. Sclafani's cell phone?

       7    A.    I don't know.

       8    Q.    Could you count them, you can tell from the notes, right?

       9    A.    Sure.

     10     Q.    Could you just go through them and count them and tell us

     11     the number.

     12                MR. YARBROUGH:   Or, your Honor, I don't know what time

     13     it is, but is it time for lunch?

     14                THE COURT:   It's time you should have done a discovery

     15     deposition.   You're wasting an awful lot of the Court's time

     16     bringing her in here and now she is going to go through fifty

     17     pages of this to determine exactly how you are going to prove

     18     your case?

     19                MR. YARBROUGH:   I need to know the number of calls.     I

     20     apologize, your Honor.    You're right.

     21                THE COURT:   This is not a way to try a case, put a

     22     witness on the stand and hope she is going to say what you want

     23     her to say and then have her work through this while the Court

     24     hangs around and listens.

     25                MR. YARBROUGH:   I'm sorry.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 82 of 120


                                                                              Page 82
       1                  THE COURT:   Why didn't you do discovery in this case?

       2                  MR. YARBROUGH:   Screwed up.   I did do discovery, I

       3    didn't get her deposition and I got an order in another case that

       4    she must appear this Friday.       They are not exactly volunteering

       5    to go to depositions.

       6                  THE COURT:   What does that mean.   This case has been

       7    set for trial for a couple of months now.

       8                  MR. YARBROUGH:   The discover was cut off though.

       9                  THE COURT:   All right, we are going to take a lunch

     10     break until one o'clock.       It's 12:10 now.

     11     BY MR. YARBROUGH:

     12     Q.    Ms. Johnson, can I ask you over the lunch period, could you

     13     count the number of calls and put a notation so we can discuss it

     14     when we come back.

     15     A.    Okay.

     16                   THE COURT:   Do that over the lunch break.   Court is in

     17     recess until one o'clock.

     18                                  (A lunch recess.)

     19                   THE COURT:   Continuing in the case of Lawrence Sclafani

     20     versus I.C.System, Case Number 09-60174-Civil.        Ma'am, you are

     21     still under oath.      You may proceed with the direct examination.

     22     BY MR. YARBROUGH:

     23     Q.    Ms. Johnson, were you able to determine the total number of

     24     calls that were placed by your firm to Mr. Sclafani's cell phone

     25     using your dialer?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 83 of 120


                                                                           Page 83
       1    A.    Yes.

       2    Q.    What was the number?

       3    A.    Seventy-five.

       4    Q.    The dialing device that you use, the computerized dialing,

       5    let's refer to it as the dialer.     Is that all right?

       6    A.    Okay.

       7    Q.    I mean that's what you call it at the office, right?

       8    A.    Some refer to it as that.

       9    Q.    So we will call it the dialer.    The dialer does not involve

     10     a human pressing telephone numbers, pressing into a key pad,

     11     Mr. Sclafani's phone number; is that correct?

     12     A.    Correct.

     13     Q.    So the act of dialing that the dialer makes is an automated

     14     or computerized non-human function?

     15     A.    Partially.

     16     Q.    What part it is automated and what part is not?

     17     A.    The machine is automated, but it takes people to run it.

     18     Q.    Yes, so humans have to program or otherwise engage the

     19     dialer?

     20     A.    Yeah, it has to give it directions.

     21     Q.    They have to give it directions.    But once they give it its

     22     direction, the dialer places the call without further human

     23     intervention; isn't that correct?

     24     A.    I believe so.

     25     Q.    Was your firm collecting this debt on a commission or a flat




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 84 of 120


                                                                           Page 84
       1    fee basis?

       2    A.    I believe it was commission.

       3    Q.    When you determined that there were seventy-five calls

       4    placed with the dialer, is that because you looked at the calls

       5    that have a "D" in the fourth column, does that designate those

       6    calls as being placed with the dialer?

       7    A.    Yes.

       8    Q.    And you counted seventy-five?

       9    A.    Yes.

     10     Q.    Does the notation enDI what does that mean in the same

     11     column?

     12     A.    Can I look at that?

     13     Q.    Yes, take a look ata page nine for example, in the     middle

     14     of the page, there is a number of entries there on 12/28 and they

     15     say enDI?

     16     A.    Those are housekeeping of the system itself.     It has nothing

     17     to do with the collection activity on the account.

     18     Q.    What does the phrase DWHU mean?

     19     A.    Where is that?

     20     Q.    It's on page eleven on the January 2nd, 2008 call at

     21     4:47 p.m.the last entry for 4:47?

     22     A.    Dialed worked hung up.

     23     Q.    Now you saw in these notes that there were three separate

     24     numbers that I.C. was calling for Mr. Sclafani; is that correct?

     25     A.    Yes.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 85 of 120


                                                                           Page 85
       1    Q.    Now Mr. Sclafani testified that the 954-587-1986 number was

       2    not his current home phone number.     Is that right?   I mean armed

       3    with that information, can you say how that number got into these

       4    notes?

       5    A.    What was the number again please?

       6    Q.    It's the one that ends in 1986, it's the 954-587-1986?

       7    A.    You have to give me a minute here to make sure.     I need to

       8    look at all the notes, before I can answer that question.       Yes, I

       9    know how it got there.

     10     Q.    How did it?

     11     A.    That was a skip tracing to look for an additional phone

     12     number.

     13     Q.    What page number is that on?

     14     A.    On page three.

     15     Q.    Which line the 12/19 or 12/20?

     16     A.    12/20/07 at 1:28.

     17                THE COURT:   Page what?

     18                MR. YARBROUGH:   Page three.

     19     BY MR. YARBROUGH:

     20     Q.    So what does that mean?

     21     A.    That means that number was not sent to us by WaMu.

     22     Q.    Doesn't that directly contradict your prior testimony that

     23     you didn't do skip tracing on this account?

     24     A.    For the account for the number at issue.

     25     Q.    Oh, I see, so before when you said, you didn't do skip




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 86 of 120


                                                                           Page 86
       1    tracing you meant you do it and get his cell number?

       2    A.    Correct.

       3    Q.    But you did do skip tracing?

       4    A.    Yes.

       5    Q.    When you asked Washington Mutual to give you records about

       6    Mr. Sclafani's account, you said their response was that they no

       7    longer had the account, that they had sold it?

       8    A.    Yes.

       9    Q.    Did you contact the present owner of the account?

     10     A.    No, we did not.

     11     Q.    Did you contact any other owner of the account?

     12     A.    No.

     13     Q.    Are you familiar with a procedure called a cell phone scrub?

     14     A.    In general.

     15     Q.    What is your understanding of a cell phone scrub?

     16     A.    That there is vendors out there that will check phone

     17     numbers to see if they are cell phones.

     18     Q.    So you could send Mr. Sclafani's number for example to a

     19     cell scrub company and they could tell you if that was a cell

     20     phone or not?

     21     A.    RIght.

     22     Q.    It's a commercial service?

     23     A.    Yes.

     24     Q.    Do you know anything about the price of that service?

     25     A.    No, I do not.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 87 of 120


                                                                           Page 87
       1    Q.    Did you use that service with Mr. Sclafani's account?

       2    A.    We didn't feel we needed to.

       3    Q.    But you did use ceratin scrubs for Mr. Sclafani's account,

       4    right?

       5    A.    Yes.

       6    Q.    You did a scrub to make sure he wasn't dead, right?

       7    A.    I don't think so.

       8    Q.    You did a scrub to make sure he hadn't filed bankruptcy

       9    right?

     10     A.    Let me look.   No, we did not.

     11     Q.    Is there any way that your computer system labels a number

     12     whether or not it is a residential or a landline phone versus

     13     whether it is a cell phone?

     14     A.    No.

     15     Q.    So your system cannot accommodate a descriptive label in the

     16     number fields, the phone number fields, for cell versus landline?

     17     A.    Well, we are talking about, we have more than one system.

     18     Q.    The one that you used for Mr. Sclafani?

     19     A.    At the time there wasn't, I don't believe.     Let me think,

     20     let me think.   I believe there is an additional field for cell

     21     phone.

     22     Q.    But there is none on Mr. Sclafani's account?

     23     A.    Right.

     24     Q.    In the first page of the notes on page one, it says the

     25     number of calls placed to Mr. Sclafani is 546?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 88 of 120


                                                                              Page 88
       1    A.    Right.

       2    Q.    That's the total number of calls that your firm placed to

       3    Mr. Sclafani at the three numbers you had for him, right?

       4    A.    No.

       5    Q.    What is that?

       6    A.    I.C.System doesn't make use of that field.       It's from a fax

       7    system.     We don't own this computer system.     They put that

       8    together to count up not only outgoing phone calls, it could be

       9    incoming, it could be things that never made it out of the

     10     building, it could be collectors updating on the account, so it

     11     doesn't have much integrity to it.      So we don't use it.

     12     Q.    But you're certain that your firm called seventy-five times

     13     Mr. Sclafani's cell phone using a dialer?

     14     A.    Correct.

     15     Q.    Does your written agreement with Washington Mutual require

     16     Washington Mutual to only give you phone numbers that they have

     17     obtained consent to call?

     18     A.    I don't think so.

     19                 MR. YARBROUGH:   No further questions.

     20                 THE COURT:    Any cross examination.

     21                 MR. GOLDEN:    Thank you, your Honor.

     22                                CROSS EXAMINATION

     23     BY MR. GOLDEN:

     24     Q.    Ms. Johnson, what exactly do you do for I.C.System?

     25     A.    My title is Director of Legal Affairs.       I manage our




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 89 of 120


                                                                           Page 89
       1    corporate legal department.    I'm first point of contact.     I'm not

       2    an attorney, but I oversee litigation filed against the company

       3    related to collections. I oversee all the corporate and collector

       4    licensing.    I review collection agency agreements.    I work with

       5    attorneys throughout the United States. I manage our consumer

       6    affairs department, our debtor correspondence department, our

       7    records management department.     I oversee letter administration.

       8    I make sure that I.C. is kept up to date on laws that affect the

       9    business.     That's kind of it in a nutshell.

     10     Q.    Is part of your job also dealing with creditor clients?

     11     A.    Sure.

     12     Q.    Now you talked about Washington Mutual, just so we are all

     13     clear, what did Washington Mutual used to be before it was

     14     Washington Mutual?

     15     A.    It was Providian.

     16     Q.    Was Providian a client of the firm?

     17     A.    Yes.

     18     Q.    You testified about taking trips to California to meet with

     19     people at Washington Mutual.     Does I.C.System do that with all

     20     its clients?

     21     A.    No.

     22     Q.    Where does Washington Mutual rank in term of I.C.'s clients?

     23     A.    It is I.C.System's top client.

     24     Q.    So they are the biggest client you have?

     25     A.    Yes.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 90 of 120


                                                                           Page 90
       1    Q.    In addition to you going out to California has WaMu sent

       2    people to your office in Minnesota?

       3    A.    Oh, yes.

       4    Q.    How often does that happen?

       5    A.    At least quarterly.

       6    Q.    Four times a year?

       7    A.    Yes.

       8    Q.    What is the purpose of those visits, social?

       9    A.    Sometimes, but, no, the quarterly they audit I.C.System.

     10     Q.    When you say audit, what do you mean?

     11     A.    A thorough audit of all their requirements, making sure

     12     I.C.System is compliant with their collection activities.       They

     13     listen and monitor collectors.      Well, they can do that any time

     14     they want to.    It's a very extensive audit.    They are auditing

     15     our security practices.     An example would be they would make sure

     16     we are not doing automated messages.      It's pretty gruesome,

     17     because if we don't pass all the audits, they won't give us

     18     anymore work.

     19     Q.    The notes that are Exhibit No. 1 is that something that is

     20     provided to Washington Mutual as well?

     21     A.    Yes.

     22     Q.    Is Washington Mutual aware of the fact that I.C.System uses

     23     prerecorded voices with some of its accounts?

     24     A.    I'm sorry, I just lost my train of thought.

     25     Q.    Has I.C.System made Washington Mutual aware of the fact that




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 91 of 120


                                                                            Page 91
       1    I.C.System does in fact use prerecorded messages for some of its

       2    collection efforts on accounts?

       3    A.    Not on theirs.

       4    Q.    Generally?

       5    A.    Yes.

       6    Q.    Do you know if in these audits that Washington Mutual

       7    performs is one of the issues they address whether or not

       8    I.C.System is complying with its requirement not to use

       9    prerecorded voices on WaMu accounts?

     10     A.    Oh, yes.

     11     Q.    The four calls that were listed in the complaint, are you

     12     familiar with those, have you reviewed the complaint?

     13     A.    Yes.

     14     Q.    Were you able to isolate those on the notes?

     15     A.    Yes.

     16     Q.    Let's look at each one of those individually quickly.         The

     17     first one is January 3rd, 2008 which in my notes on page --

     18                  MR. YARBROUGH:   Pardon me, your Honor, we would be

     19     willing to stipulate that those messages are not of prerecorded

     20     messages, the four messages that are listed in the pretrial

     21     stipulation that Mr. Golden is about to go over.

     22                  THE COURT:    Okay.   Do you want to stipulate to that.

     23                  MR. GOLDEN:   He testified under oath that they were.

     24                  THE COURT:    Well, he testified that he thought the

     25     January 3rd one was, the others he said he would have to hear the




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 92 of 120


                                                                           Page 92
       1    voice.   Anyway he is offering to stipulate that they are not

       2    prerecorded.   You are welcome to do whatever you want.     You can

       3    accept the stipulation or you can go through it.

       4    BY MR. GOLDEN:

       5    Q.    You testified earlier that the phone number at issue here,

       6    which is the one that ends in 8383 was supplied by Washington

       7    Mutual to I.C.System; is that correct?

       8    A.    Yes.

       9    Q.    You also had indicated that there was a skip trace performed

     10     that yielded another number?

     11     A.    Right.

     12     Q.    If there had been a skip trace that revealed that 8383

     13     number, how would that appear in the notes?

     14     A.    Well, it would show that we did, it would be very similar to

     15     the one with that other number.

     16     Q.    So the one which is on page three, where it says RP phone

     17     received and then it has the 1986 number?

     18     A.    Yes.

     19     Q.    Is there any way that if I.C.System were to perform a skip

     20     trace and retrieve that 8383 number, that it could be somehow

     21     later taken out of the system as a skip trace?

     22     A.    Yes.

     23     Q.    Maybe you are not understanding my question.     Is there any

     24     indication in the notes as we sit here today that 8383 was a skip

     25     trace?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 93 of 120


                                                                           Page 93
       1    A.    No, there isn't.

       2    Q.    Would it be possible, for example this one that is 1986 skip

       3    trace, would it be possible for       me today to go into the computer

       4    system and remove the fact that was a skip trace?

       5    A.    No.

       6    Q.    Once it's in the computer, it's in forever?

       7    A.    Right.

       8    Q.    You also testified you have some experience in dealing with

       9    Washington Mutual and where they come up with telephone numbers;

     10     is that correct?

     11     A.    Yes.

     12     Q.    What is your experience on that issue in terms of the

     13     numbers they provide you?

     14                  MR. YARBROUGH:   Excuse me, your Honor, I'm going to

     15     object to hearsay, what Washington Mutual's procedures are.         She

     16     doesn't work there, she doesn't know what they are.

     17                  THE COURT:   You questioned her about that.

     18                  MR. YARBROUGH:   Yes, I did.

     19                  THE COURT:   I think you opened up the door.

     20                  MR. YARBROUGH:   Okay.

     21                  THE COURT:   You can answer the question.

     22                  THE WITNESS:   Can you repeat the question.

     23     BY MR. GOLDEN:

     24     Q.    Are you familiar with how Washington Mutual gets the

     25     telephone numbers that it provides I.C.System to collect debts?




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 94 of 120


                                                                           Page 94
       1    A.     Yes.

       2    Q.     What do you know about that?

       3    A.     They get it off the application.

       4    Q.     How do you know that?

       5    A.     Because if they didn't get it off the application, then they

       6    would ask us to do a skip trace.

       7    Q.     Would that have been part and parcel of what had happened on

       8    this account?

       9    A.     Yes.

     10     Q.     So from your experience is it fair to say that if that

     11     number hadn't come from the application completed by

     12     Mr. Sclafani, you would have been asked to do a skip trace?

     13     A.     Yes.

     14     Q.     Now would I.C.System have done any additional work to

     15     determine whether or not this 8383 number or any of the other

     16     numbers provided by Washington Mutual was in fact a cell phone

     17     number?

     18     A.     We didn't need to.

     19     Q.     Why not?

     20     A.     Because of what we know about our client.     If that came in

     21     with the number, they got it off their application.

     22                   MR. GOLDEN:   That's all the questions I have, thank

     23     you.

     24                   THE COURT:    Any redirect?

     25                                 REDIRECT EXAMINATION




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 95 of 120


                                                                           Page 95
       1    BY MR. YARBROUGH:

       2    Q.    Do you have a written agreement with Washington Mutual that

       3    requires Washington Mutual to only give you numbers that are off

       4    of the credit application?

       5               MR. GOLDEN:    Objection, asked and answered.

       6               MR. YARBROUGH:   No, I didn't ask it that way, I asked

       7    if they had an agreement.

       8               THE COURT:    Objection is overruled.

       9               THE WITNESS:   Not that I know of.

     10     BY MR. YARBROUGH:

     11     Q.    How do you know that Washington Mutual uses you as their

     12     exclusive agent for skip tracing?     Do you have such an agreement?

     13     A.    There is not a written agreement.

     14     Q.    So isn't it possible that Washington Mutual could have been

     15     dissatisfied with your service, or just wanted to try someone

     16     else and use a skip trace other than your firm?

     17     A.    It's very unlikely.

     18     Q.    But you wouldn't know about it?

     19     A.    We would know if they are not happy with us, through our

     20     audits and whether or not we are continuing to get work.

     21     Q.    It's like when a boyfriend and girlfriend are dating,

     22     sometimes somebody doesn't know until the last minute.      Maybe

     23     they were unhappy with you and they went to someone else, and you

     24     wouldn't know it; isn't that possible?

     25     A.    It's unlikely.




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 96 of 120


                                                                           Page 96
       1    Q.     It's unlikely, but It's possible?

       2    A.     Sure anything is possible.

       3    Q.     I think you said earlier that the computer records could not

       4    be altered?

       5    A.     Correct.

       6    Q.     Do you believe that there is something special about your

       7    computer that makes it such that it could never be altered?

       8    A.     What we were referring to is once something is in the notes,

       9    there is not a human user that can remove or erase them.

     10     Q.     You mentioned that when you tried to get information from

     11     Washington Mutual, that they told you they didn't even own the

     12     debt; is that right?

     13     A.     At the time after so many years, yes.

     14     Q.     So many years, but I mean you were collecting this last

     15     year?

     16     A.     They sold it, when we asked them, they had sold it.

     17     Q.     Why did they keep you in the dark?   I mean you're so tight

     18     with your relationship with them, how come you were collecting a

     19     debt that you didn't even know that they don't even own anymore?

     20     A.     We weren't.

     21     Q.     You weren't?

     22     A.     We weren't attempting to collect a debt that they did not

     23     own.    They owned the debt when we were attempting to collect the

     24     debt.

     25     Q.     Do you know when they sold it?




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 97 of 120


                                                                             Page 97
       1    A.    No, I do not.

       2                MR. YARBROUGH:   All done.

       3                THE COURT:    Thank you, ma'am, you may step down.    Does

       4    the plaintiff have any further witnesses or evidence?

       5                MR. YARBROUGH:   No, sir.

       6                THE COURT:    Does the defense have any witnesses or

       7    evidence?

       8                MR. GOLDEN:   No, your Honor.

       9                THE COURT:    Let me hear argument then.

     10                 MR. GOLDEN:   Your Honor, I'm sorry I made a mistake.     I

     11     wanted to put Mr. Sclafani's deposition transcript in.        I didn't

     12     want to read the whole thing, but we are entitled to put it in.

     13                 THE COURT:    Okay, any objection?

     14                 MR. YARBROUGH:   Yes.

     15                 THE COURT:    What's the objection?

     16                 MR. YARBROUGH:   I don't understand why he is putting in

     17     the entire transcript.

     18                 MR. GOLDEN:   I'm entitled to.

     19                 MR. YARBROUGH:   He didn't list it as an exhibit.

     20     Unless it's for impeachment, the whole thing wouldn't be for

     21     impeachment.

     22                 THE COURT:    Okay, what do you say about that?

     23                 MR. GOLDEN:   Your Honor, I can have my client sit up

     24     there and we can read through the whole thing and read it in.

     25     That's what we would do if it were a jury trial.       Since this is a




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 98 of 120


                                                                           Page 98
       1    bench trial, I'm entitled --

       2               THE COURT:    -- what he is saying, you didn't tell him,

       3    you didn't list it as an exhibit.

       4               MR. GOLDEN:   It's not an exhibit, it's his testimony.

       5    Again, I can put it in.

       6               MR. YARBROUGH:   He's available.

       7               THE COURT:    Hold on a second.    First of all because he

       8    is available doesn't matter.     It's a statement by a party

       9    opponent, so it's an exception, it's not hearsay, it can come in.

     10                The issue then is, you are supposed to list your

     11     exhibits so the other side knows what you are introducing so they

     12     can be prepared for it.     You didn't list the exhibit of the

     13     deposition.   Why did you not list the exhibit of the deposition?

     14                MR. GOLDEN:   Because it's not an exhibit, your Honor.

     15     Again, I can have my client sit on the stand and we can simply

     16     read the deposition transcript into the read, like often happens

     17     in jury trials.

     18                THE COURT:    But then it would be an exhibit, it would

     19     still be an exhibit.     If you played it, if you read it, it's an

     20     exhibit.   You have to have the transcript for them to read to be

     21     an exhibit, it's an exhibit.     It should have been listed on your

     22     exhibit list.   Tell me why it was not.

     23                MR. GOLDEN:   Because if I had done this in a jury

     24     trial, the deposition transcript itself would not go to the jury.

     25     It would be read into the record just as though there is a




                 OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 99 of 120


                                                                           Page 99
       1    specific jury instruction on deposition testimony.

       2               THE COURT:    That's actually up to the individual Judge

       3    if they want the jury to have the transcripts of the testimony or

       4    not.    But it should have been listed as an exhibit.    Why was it

       5    not listed as an exhibit?

       6               MR. GOLDEN:   Because it is not.

       7               THE COURT:    I'm telling you that it is an exhibit.     So

       8    now tell me why you didn't list it, is it because you thought it

       9    was not an exhibit, is that why?

     10                MR. GOLDEN:   Because I didn't believe it was an

     11     exhibit.   Number two, are they claiming some sort of prejudice

     12     because I want to put his client's -- if we move to the issue

     13     okay it's an exhibit, you didn't list it, they can't claim any

     14     sort of prejudice.    It's his client's deposition testimony.     All

     15     I want to do is put the deposition testimony into evidence as

     16     part of my case.    I believe I am entitled to do that.

     17                THE COURT:    Okay, what do you say about that?

     18                MR. YARBROUGH:   Never disclosed.   He has the witness

     19     here, he could have asked him anything he wanted.      The case is

     20     closed, the exhibits are closed.     Both parties closed.

     21                THE COURT:    Well, he closed two seconds ago. All right,

     22     I'm going to allow the admission of the deposition.

     23                MR. GOLDEN:   Thank you, your Honor.    Mr. Golden, I will

     24     tell you though you need to, this is not hide the ball.       Do you

     25     understand, Mr. Golden?     You came in here without the witness




                   OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 100 of 120


                                                                            Page 100
       1     that you indicated you were going to bring in hopes that the case

       2     would be kicked because wouldn't have sufficient evidence.

       3                 Now you are introducing a deposition, after not listing

       4     it as an exhibit, or telling the opposing side I'm going to

       5     introduce the testimony that was obtained in the deposition.

       6                 I don't appreciate that kind of conduct.    I'm allowing

       7     the deposition in, but I'm giving you a warning for next time.

       8     Don't be playing things so close to the vest.

       9                 MR. GOLDEN:   Your Honor, I have done noting outside of

      10     the rules of civil procedure, the rules of evidence, or the local

      11     rules.   I'm protecting the interest of my client and as long as I

      12     operate within those rules, which I have absolutely done, I'm

      13     entitled to do that.

      14                 THE COURT:    Well, I find your candor to the Court and

      15     candor opposing counsel is lacking, which I think our local rules

      16     require.    I think by leading counsel to believe that you were

      17     going to have this witness here, that was unfair in not having

      18     her here.

      19                 Any other evidence for either side?

      20                 MR. GOLDEN:   No, sir.

      21                 THE CLERK:    Excuse me, Judge, what exhibit number is

      22     going to be for the defendant?

      23                 MR. GOLDEN:   I guess it will be Defendant's Exhibit

      24     No. 2.

      25                 THE COURT:    Okay, hand a copy up to the clerk.




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 101 of 120


                                                                            Page 101
       1             (Defendant's Exhibit No. 2 received in evidence.)

       2                 THE COURT:   What do you say, Mr. Yarbrough.

       3                 MR. YARBROUGH:   They admitted that they left

       4     seventy-five calls, that they placed seventy-five calls to

       5     Mr. Sclafani's cell phone using an auto dialer.      The device that

       6     they used falls within the definition of an auto dialer.

       7                 THE COURT:   Let me ask you something.   Are you dropping

       8     your prerecorded calls?      Since there has been no testimony other

       9     than your client, who he thought one was prerecorded and you

      10     stipulated that it was not and the witness you called made clear

      11     that they never made prerecorded calls.      I'm not aware of any

      12     evidence of prerecorded calls, other than your witness, I guess

      13     you client did say that he heard robotic voices on occasion.

      14                 MR. YARBROUGH:   I believe his testimony on that was

      15     that he felt he had received in the neighborhood of forty or

      16     fifty prerecorded messages was his testimony.

      17                 We admit that the four calls in the pretrial

      18     stipulation, that are also in the complaint, that those are live

      19     messages.    The defendant's claim is we never left a prerecorded

      20     message and I believe that he has testified to it, and they said,

      21     no, they don't.    So it's up for grabs.    I mean it's a factual

      22     call, it's up for grabs.      But I think they have admitted

      23     seventy-five calls.

      24                 THE COURT:   Just so we can put that at rest, my factual

      25     finding is that there were no prerecorded calls, based on your




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 102 of 120


                                                                          Page 102
       1     client's testimony, or hesitant testimony regarding it and based

       2     on positive testimony by the corporation that they are not

       3     allowed by Washington Mutual.     There would be indications in the

       4     records if it occurred.     And I believe you told me ahead of time

       5     there would be indications in the record if it occurred and there

       6     are no indications in the records that anyone can identify.

       7                MR. YARBROUGH:   Well, just to clarify, because I'm

       8     concerned about my representations to this Court.      I understood

       9     the notation in there that said live -- that said, pre -- I can't

      10     remember the phrase -- auto message.     They are saying, they

      11     testified, that, no, that means they heard an auto message on the

      12     consumer's end.   I mistook those as being to mean they were using

      13     an auto dialed call.

      14                THE COURT:   Okay.

      15                MR. YARBROUGH:   Sorry.   Okay, on the dialer calls, they

      16     admit there are seventy-five of them.     We believe we have proven

      17     that their dialer meets the definition in the FCC January '08

      18     order, because it doesn't involve human interaction.

      19                THE COURT:   Where does it say that in the order?     Are

      20     you looking at the attachment that was attached to your trial

      21     memo?

      22                MR. YARBROUGH:   Yes, sir.   On page eight of the FCC's

      23     order, paragraph number thirteen, near the bottom of that, about

      24     midway through, right after footnote forty-seven it says:      The

      25     commission noted that the evolution of the teleservices industry




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 103 of 120


                                                                           Page 103
       1     has progressed to the point where dialing lists of numbers was

       2     far more cost effective, but that the basic function of such

       3     dialing equipment had not changed.    The capacity to dial numbers

       4     without human intervention.

       5                Judge Dimitrouleas in the case we had up there with

       6     him, the same attorneys, he found the dialer did not involve

       7     human interaction.   It doesn't require -- the key is they are

       8     getting out of having to dial the number with fingers and they

       9     have a machine that does it.    That machine means it is a dialer.

      10

      11                THE COURT:   Is it a dialer if I have my office call and

      12     it has speed dial on it, have to push a key that dials seven

      13     numbers or ten numbers now I guess, that would not be an

      14     automatic dialer because it involved human intervention, I guess

      15     had to push the number, even though I'm pushing one number

      16     instead of ten numbers?

      17                MR. YARBROUGH:   It's an extreme example.    The

      18     difference would be that their procedure is they make hundreds of

      19     thousands of calls using a machine that does that on a repetitive

      20     basis, as opposed to -- I mean we are not contending that the use

      21     of a speed dial is a dialer.    But as the FCC notes it here, the

      22     technology is changing and they have adapted in January '08 this

      23     order to point out that it is the lack of human intervention in

      24     the dialing process.

      25                So I think that the point about would a speed dial be




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 104 of 120


                                                                               Page 104
       1     it, it might be.   A speed dial might be one.      I don't know.

       2                But this is a max dialing device that is used to call

       3     large numbers of consumers without human intervention, without

       4     human dialing of the number.

       5                THE COURT:   Okay.

       6                MR. YARBROUGH:   As far as consent goes, Mr. Sclafani's

       7     has testified in his deposition and he checked some things after

       8     his deposition, because as he said, he didn't even understand

       9     that was an issue in this case.       He just wanted to stop them from

      10     calling.   When we took the deposition, there was four or five

      11     different counts pending.       Two or three of those have been settle

      12     dor dismissed.

      13                But after he had his deposition, he said that he

      14     remembered, I believe he testified at his deposition, that he

      15     didn't given them the cell and his thinking was afterward, I

      16     didn't give them the cell, because I didn't have it then.          He

      17     went and checked with the cell company and he checked the phone

      18     and he found that he didn't even have the cell number when he

      19     took out the application.

      20                The defendant, you know, initially they testified,

      21     well, we don't do skip traces.       We don't do it.   Then she

      22     clarified, well, wait a minute we did a skip trace and we did one

      23     on this account, but we didn't do it with respect to the cell

      24     number.

      25                THE COURT:   I don't think she ever said they don't do




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 105 of 120


                                                                            Page 105
       1     skip traces.    It was clear from the beginning they did skip

       2     traces.   I can't remember if she said they didn't do it on the

       3     cell phone, or they didn't do it      on this account, but she made

       4     clear they would have asked her to do the skip trace and it would

       5     show that a skip trace was done and that produced the cell

       6     number.

       7                 MR. YARBROUGH:   Right.   Let me clarify that.   I can't

       8     say that she said that she didn't do skip traces.      What I think

       9     my recollection of her testimony was, that she didn't do a skip

      10     trace on this one, on this account and then later said, well,

      11     wait a minute, we did with respect to that number.      We didn't get

      12     the cell number off the skip trace, but we did do a skip trace

      13     that resulted in this mystery number that he thinks is from his

      14     daughter's bedroom seven years ago whatever.

      15                 The burden of proof is on them to prove that he gave

      16     them the number, and to prove that he gave them that number in

      17     the course, during the course of the transaction that resulted in

      18     the debt.   I'm reading from the very bottom of page six of the

      19     FCC's order.

      20                 They also have the burden of proof on that.      My point

      21     is they haven't met the burden of proof to show that this number

      22     was provided to Washington Mutual in the course of granting, in

      23     the course of the transaction that resulted in the debt.

      24                 They have some circumstantial evidence that hey

      25     Washington Mutual gave it to us.      Apparently that is true.    But




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 106 of 120


                                                                          Page 106
       1     they don't know how Washington Mutual got it.     They say, yes, we

       2     do skip traces for Washington Mutual.     They would have referred

       3     it to us.   They don't have a written agreement that says that.

       4     There is no guarantee that Washington Mutual could have been

       5     dissatisfied with them and gone to someone else and there could

       6     be other providers that they don't know about.

       7                 Another thing they didn't testify about, which is

       8     specifically prohibited in this FCC order is they are not allowed

       9     to obtain the number by caller ID.    What I mean is if

      10     Mr. Sclafani called Washington Mutual to inquire about his

      11     account and he is calling from his cell number, and they capture

      12     that number with caller ID technology, that is not a consent.

      13                 It's specifically covered in the FCC's order, covered

      14     at page six on paragraph ten.    I'm sorry it's at the footnote at

      15     the bottom of that page, footnote thirty-four on page six.      They

      16     go into capturing the number by caller ID is not considered

      17     consent.    They may have captured it.

      18                 It's their burden of proof.   They don't have the

      19     application here.   They don't have any documentary evidence that

      20     Mr. Sclafani gave that number to them.     They don't do cell

      21     scrubs.    They know what a cell scrub is.   They could prevent

      22     this.   They could prevent calls to a cell phone.    They don't have

      23     anything on their records that show this is a cell number.      There

      24     is no field that marks the number as a cell.

      25                 They don't have an agreement with Washington Mutual




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 107 of 120


                                                                          Page 107
       1     that Washington Mutual only provides cellular numbers that have

       2     been consented to.   They haven't done anything.    Their reliance

       3     is totally on this idea, hey, Washington Mutual, you know we are

       4     good friends.   They are one of our big clients and they wouldn't

       5     do that, but they don't have it in writing.     They don't have an

       6     agreement and they don't have any proof of that.

       7                 They haven't met their burden of producing evidence

       8     here today.   It is not our burden to prove that Mr. Sclafani did

       9     or did not consent to the calls to his cell.     It's not our burden

      10     to prove that he gave his number to Washington Mutual or not.       It

      11     is their burden. They have to prove by a preponderance of the

      12     evidence.   Basically all they have said, is, hey we got the

      13     number from Washington Mutual, so we assume it came off of the

      14     contract.

      15                 His testimony was, I didn't even have the cell phone

      16     number when I got that contract.    He testified he got the credit

      17     card in December '06 and he didn't get the cell phone number that

      18     the calls were placed to until I believe it was June or July of

      19     '07.    He didn't even have the number then.   It doesn't make sense

      20     that if he is in default on a credit card, that he is going to

      21     call up and say, hey, by the way here is my new number, why don't

      22     you call me here.

      23                 He might have called them.   He might have called them

      24     and they captured his number off called ID.     We don't know, we

      25     have no idea how that number got in there.




                    OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 108 of 120


                                                                             Page 108
       1                THE COURT:    Okay.

       2                MR. YARBROUGH:   Thank you, your Honor.

       3                THE COURT:    Mr. Golden.

       4                MR. GOLDEN:   Your Honor, our position is plaintiff has

       5     not sustained his burden to prove that the phone system used here

       6     was in fact subject to the TCPA.       What Mr. Yarbrough read you

       7     from the FCC opinion specifically says that in order to qualify,

       8     it has to be able to operate without human intervention.        We know

       9     from Ms. Johnson's testimony that the phone system in this case

      10     couldn't do that, that it actually needed humans to input the

      11     information, the specific phone numbers to be called in order to

      12     operate.   So there is human intervention.       There is a human

      13     being putting the numbers into the system in order to make the

      14     calls.

      15                It is not simply drawing numbers.      The typical

      16     situation, your Honor, would be a telemarketer, simply drawing

      17     numbers, that has a computer system that draws numbers from the

      18     white pages, from the yellow pages, and being able to call

      19     randomly without any sort of human intervention.

      20                In this case that is not the case.      The numbers that

      21     are being called are specifically put into the system by a human

      22     being.

      23                The other issue, your Honor, on the prerecorded

      24     messages, I don't know where we stand on that issue.       I think the

      25     evidence is clear Mr. Sclafani doesn't know whether or not these




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 109 of 120


                                                                          Page 109
       1     were provided --

       2                THE COURT:    -- I already made a factual finding there

       3     is not sufficient evidence of prerecorded messages.

       4                MR. GOLDEN:   Right, you did make that factual finding.

       5     So I do know where we stand on that.

       6                The other issue, your Honor, is this issue of prior

       7     expressed consent.   Mr. Yarbrough got up here and said, gee, we

       8     don't know whether WaMu did some sort of capture when he called

       9     them.    Well, there is no evidence and Mr. Sclafani was on the

      10     stand.    If he had called Washington Mutual, they could have put

      11     on evidence to suggest that maybe it was some sort of capture.

      12     But there is no evidence of that.     That is pulling something out

      13     of the air and saying, well, maybe it was some sort of capture

      14     that they did when he called.      But there is no evidence that he

      15     ever called Washington Mutual.     In fact in the deposition you

      16     will see that he testified that was never contacted by Washington

      17     Mutual.

      18                One of the other things that Mr. Yarbrough said is that

      19     we don't have the documents to show that he put this on the

      20     original application.     Well, he also talks about, well, gee, my

      21     client's testimony is he got the cell phone after he opened this

      22     account.   Well, it would have been very easy for them, since that

      23     wasn't what he said at his deposition, it would have been very

      24     easy for them to have gotten a copy of that cell phone contract

      25     and provided it to us and introduced that as evidence in this




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 110 of 120


                                                                          Page 110
       1     case, so the Court wouldn't simply have to take Mr. Sclafani's

       2     word for it.

       3                What we do know from Mr. Sclafani is that his testimony

       4     today was greatly different than it was at deposition.      At

       5     deposition he testified that he didn't remember how he even

       6     opened this account or when it was.     He testified he didn't know

       7     if he did it through the mail, by going to the office, or by

       8     doing it over the Internet.

       9                He testified specifically at deposition in response to

      10     my question, what phone numbers did you give them.      His response

      11     was, I don't know.   Now his testimony is, well, I don't know what

      12     it was, but I know it wasn't my cell phone number.

      13                What do we also know from Mr. Sclafani.     Again, at his

      14     deposition testimony, he specifically stated that he doesn't use

      15     his home phone number.    He mainly uses his cell phone number.     He

      16     testified that he uses his cell phone number for business.       That

      17     he gives it out to people who want to contact him to use his

      18     painting business.   It's what a lot of people do.     They use their

      19     cell phone number as their primary contact number.      That's what

      20     Mr. Sclafani did.    He used his cell phone number as his primary

      21     contact number.

      22                That's the number that he gave to Washington Mutual

      23     when he opened the account.     How do we know that from the other

      24     end, we know that based upon the testimony of Ms. Johnson.

      25     Ms. Johnson's testimony is they are the biggest client of the




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 111 of 120


                                                                            Page 111
       1     firm.   They have been a client of ours for seven or eight years.

       2     I go out there to meet with them on a yearly basis.      They come to

       3     our office four times a year.

       4                What do we know from that.    Well, we learned from that

       5     experience, that relationship that there is certain things that

       6     Washington Mutual does for us.     They provide us numbers.    And we

       7     know from her experience, based upon her dealings with Washington

       8     Mutual, that the numbers they provide are the numbers Washington

       9     Mutual gets off that application.

      10                We know in this case there is discussion about whether

      11     or not a skip trace was done.     Did we do a skip trace to find

      12     this other number, yeah, but there is no evidence we did any sort

      13     of skip trace with Mr. Sclafani's number.     The only evidence in

      14     the case, your Honor, the only credible evidence in the case is

      15     that I.C.System got this number from Washington Mutual.

      16     Washington Mutual, as was its practice, got it off the

      17     application and provided it to I.C.System.

      18                That, your Honor, is the very definition of prior

      19     expressed consent under the TCPA.     On that basis, as well as the

      20     fact the plaintiff has failed to meet its burden of proving this

      21     is an automatic telephone dialing system, my client is entitled

      22     to a judgment.   Thank you.

      23                THE COURT:   You may briefly respond.

      24                MR. YARBROUGH:   It's a guess that they got the number

      25     off of the application.     They don't have the application.




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 112 of 120


                                                                           Page 112
       1     Mr. Golden said we should bring the application here.      It's not

       2     our burden of proof and we are not the ones that are so friendly

       3     with Washington Mutual.

       4                 Mr. Sclafani's testimony at his deposition was, I don't

       5     know what number was on there, but it was also I didn't give them

       6     my cell.    I know it's not my cell.

       7                 They need to prove express consent, not us.    They

       8     needed to ask the questions of whether or not Mr. Sclafani ever

       9     called Washington Mutual.     The issue, he said in his deposition

      10     that they never called him, but that's not the issue.      The issue

      11     is if he called them, they can get his number from called ID.

      12                 THE COURT:   Okay, I've heard that already.   Anything

      13     else new?

      14                 MR. YARBROUGH:   The loading of numbers Ms. Johnson

      15     testified, well, we have to load the dialer with numbers before

      16     it places the calls.     That issue was dealt with in Hicks versus

      17     Client Services, Judge Dimitrouleas found, yes, you do have to

      18     load numbers into the dialer.     It doesn't work by magic.   But

      19     once you load them, it's without human intervention to place

      20     those calls, and therefore it is a dialer within the statute.

      21     Thank you, your Honor.

      22                 THE COURT:   Already, do you want me to dictate now my

      23     findings of fact and conclusions of law, or do you guys want to

      24     provide me with proposed findings of fact and conclusions of law?

      25                 MR. YARBROUGH:   No, I think the Court should, we should




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 113 of 120


                                                                            Page 113
       1     know now.

       2                 THE COURT:    What do you think, Mr. Golden?

       3                 MR. GOLDEN:   It's your court, your Honor.

       4                 THE COURT:    If I do it now, I'm not going to write an

       5     order.   You can have this transcribed.

       6                 MR. YARBROUGH:   Yes, that's fine.

       7                 THE COURT:    And use it if you want to on an appeal.   Is

       8     that okay with both sides?

       9                 MR. GOLDEN:   Yes.

      10                 MR. YARBROUGH:   Okay.

      11                 THE COURT:    As to whether or not the plaintiff gave

      12     prior expressed consent to allowing the debt collector to call

      13     his cell phone, I find that the defendant has not met their

      14     burden of providing proof by a preponderance of the evidence,

      15     that he expressly consented to them calling his cell phone.

      16                 They presented evidence through Ms. Johnson, who I

      17     found to be a credible witness that in her experience Washington

      18     Mutual generally provided her with numbers off of credit

      19     applications.    But she had no knowledge as to how this particular

      20     telephone number was obtained by Washington Mutual.        And I note

      21     that in the FCC declaratory ruling, which was released on January

      22     4th, 2008, which is Number FCC-07-232 and is attached to the

      23     plaintiff's trial memorandum, the FCC indicates that a creditor

      24     is in the best position to have records kept in the usual course

      25     of business showing such consent, referring to consent to call




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 114 of 120


                                                                          Page 114
       1     particular numbers, such as purchase agreements, sales slips, and

       2     credit applications.    Should a question arise as to whether

       3     express consent was provided, the burden will be on the creditor

       4     to show it obtained the necessary prior express consent.

       5                In this instance, although the defendant presented some

       6     evidence to show they may have believed that the number didn't

       7     come from -- or did come from a credit application -- it was not

       8     sufficient to meet their burden and that they did not present any

       9     evidence from the creditor or the records of the creditor to show

      10     that it was an actual number that was provided on the credit

      11     application and wasn't obtained by Washington Mutual in some

      12     other fashion.

      13                So based on that, I find calls were made to the

      14     plaintiff without the plaintiff's prior express consent.      Then

      15     the two types of calls which were complained of in count six of

      16     the complaint, which is what we are travelling on; is that

      17     correct, Mr. Yarbrough?

      18                MR. YARBROUGH:   Yes, sir.

      19                THE COURT:   Count six asks for relief because the

      20     defendant placed non-emergency telephone calls to plaintiff's

      21     cellular telephone using an automatic telephone dialing system,

      22     or prerecorded, or artificial voice.

      23                There has been no evidence, I believe before we started

      24     that both parties stipulated that there was no allegation, or the

      25     defendant wasn't defending saying any of these calls were




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 115 of 120


                                                                          Page 115
       1     emergency calls.   So I find that these calls were all

       2     non-emergency calls.

       3                That there was a total of seventy-five calls placed by

       4     the dialer, which was testified to by Ms. Johnson who counted

       5     them from the appropriate corporate records.     As I said, none of

       6     these calls, there was not sufficient evidence by the plaintiff

       7     that any of these calls were prerecorded or artificial voices.

       8     The plaintiff himself testified that he believed that he heard

       9     what he interpreted as robotic calls.     He identified one of the

      10     calls, which was referred to in the complaint as a robotic call.

      11     The others he said he couldn't recall and subsequently the

      12     plaintiff stipulated that the one that he had identified, or that

      13     none of them were automatic calls, but rather were human voices.

      14                The defendant presented testimony, convincing testimony

      15     by Ms. Johnson that they are prohibited by Washington Mutual from

      16     making calls that have artificial voices.     That they have a means

      17     of auditing that to assure that it doesn't happen and that if it

      18     had happened, it would indicated in their records relating to

      19     this account.   So based on that, I find there were no

      20     prerecorded, artificial voice calls made.

      21                However, I do find that there was an automatic

      22     telephone dialing system used.    Ms. Johnson indicated that there

      23     was a dialer used, that was computer assisted, that did not

      24     require a human to make the particular call.     Counsel has argued

      25     that although a human may not be required to make the particular




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 116 of 120


                                                                              Page 116
       1     call, that humans were involved in the placing of the call,

       2     because the humans loaded the computers with the appropriate

       3     phone information.   That it wasn't just taken off the Internet or

       4     taken from yellow pages or white pages or something of that sort.

       5                I am in agreement with Judge Dimitrouleas analysis in

       6     Hicks versus Client Services where under similar circumstances,

       7     he found that in a situation similar to this, where the defendant

       8     argued that the numbers were loaded by humans into the auto

       9     dialers, that was not sufficient to take them out of the auto

      10     dialer was defined by the FCC.

      11                So based on that, I find there were seventy-five

      12     violations by the defendant.     I find there is a lack of evidence

      13     to show that these violations were willful.       According to

      14     Ms. Johnson's -- willful is the standard; is that correct?

      15                MR. GOLDEN:   Yes, sir.

      16                MR. YARBROUGH:   Willful or knowing.

      17                THE COURT:    Willful or knowing, Ms. Johnson testified

      18     that they have a relationship, an ongoing relationship with

      19     Washington Mutual.   That she is under the belief that they don't

      20     receive numbers that were not provided, that were not included on

      21     a credit application.     They have the ability to scrub for cell

      22     numbers, if they believe they have that kind of information, and

      23     didn't have that kind of information in this instance.       They

      24     relied on Washington Mutual.

      25                There is also some evidence in the record that the




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 117 of 120


                                                                          Page 117
       1     number that was dialed as the cell phone of the plaintiff is

       2     indicated in the computer records as being a work phone, rather

       3     than a cell phone.   The defendant relied on that in making these

       4     phone calls.   So I find that the violation is not willful.

       5                So I guess the question that is left is what the

       6     damages are.   Are the damages automatically five hundred dollars

       7     for each call, or is that something that the Court has to decide?

       8                MR. YARBROUGH:   It's automatic, your Honor.    Once there

       9     has been a finding of a violation, it is five hundred per call.

      10                THE COURT:    Okay.

      11                MR. GOLDEN:   I agree with that, your Honor.

      12                THE COURT:    Okay, then I will issue judgment in the

      13     amount of $37,500; is that correct?

      14                MR. YARBROUGH:   Yes sir.

      15                MR. GOLDEN:   Yes, sir.

      16                THE COURT:    All right, any questions or anything that

      17     you need clarified as to my findings of fact or findings of law?

      18                MR. GOLDEN:   No, sir.

      19                MR. YARBROUGH:   No, sir.   I apologize for my inartful

      20     appearance here.   Your Honor, in civil cases we have such a rare

      21     opportunity to appear before a Court and to have a trial, that

      22     you just don't get the experience and I should have gotten it

      23     when I first got out of law school and I didn't and I regret it.

      24                THE COURT:    No, what you should have done is you should

      25     have deposed the witness before you called her here.




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 118 of 120


                                                                           Page 118
       1                MR. YARBROUGH:   Well, all is well that ends well and I

       2     will do that in the future.    Thank you, your Honor

       3                THE COURT:   Court is in recess.

       4                MR. YARBROUGH:   And the Court will issue a judgment?

       5                THE COURT:   Yes, in the amount of $37,500.    There are

       6     no attorneys fees in this case, right?

       7                MR. YARBROUGH:   Oh, but, your Honor, there is a

       8     remaining issue.   Part of our agreement of our settlement on the

       9     other case, was that    this Court would determine the fees and

      10     costs due to us on portion of the case.       So we have to file a

      11     motion for fees and costs within thirty days, because the Judge

      12     who had it before, told us he was going to hold off on that until

      13     the end of the trial.

      14                THE COURT:   Okay, you have thirty days from the date

      15     that the judgment is entered in this case which will be probably

      16     today or tomorrow to file.    Under the local rules you are

      17     automatically given thirty days to file motion for costs and

      18     fees. Thank you.

      19                 (Thereupon the proceedings were concluded.)

      20

      21

      22

      23

      24

      25




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 119 of 120


                                                                          Page 119
       1                                  CERTIFICATE

       2
       3     UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF FLORIDA
       4     MIAMI DIVISION

       5
       6            I, SUSAN SUDDARTH, a Notary Public in and for the State of

       7     Florida at Large, DO HEREBY CERTIFY that the foregoing BENCH

       8     TRIAL was taken before me at the time and place therein

       9     designated; and the foregoing pages 1 through 119 inclusive are a

      10     true and correct record of the proceedings.

      11           I FURTHER CERTIFY that I am not a relative or employee of

      12     any of the parties, nor relative or employee of such attorney or

      13     counsel, or financially interested in the foregoing action.

      14            WITNESS MY HAND AND SEAL this 2nd day of November 2009.

      15
      16                                     _____________________________
                                             Susan Suddarth - Notary Public
      17                                     State of Florida at Large
                                             Commission #DD813800
      18                                     Expires October 2, 2012?

      19
      20
      21
      22
      23
      24
      25




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
Case 0:09-cv-60174-JJO Document 31 Entered on FLSD Docket 11/05/2009 Page 120 of 120


                                                                          Page 120
       1

       2




                  OFFICIAL REPORTING SERVICES, LLC (954) 467-8204
